 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 1 of 93 PageID #:4702




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

ANDREW CORZO, et al.,

                         Plaintiffs,
                                                    Case No. 1:22-cv-00125
                  v.
                                                    Hon. Matthew F. Kennelly
BROWN UNIVERSITY, et al.,
                                                    Hon. Gabriel A. Fuentes
                         Defendants.


DEFENDANT YALE UNIVERSITY’S ANSWER AND AFFIRMATIVE DEFENSES TO
   SECOND AMENDED AND SUPPLEMENTAL CLASS ACTION COMPLAINT
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 2 of 93 PageID #:4703




       Defendant Yale University (“Yale”), by and through its attorneys, hereby answers

Plaintiffs’ Second Amended and Supplemental Class Action Complaint (“Second Amended

Complaint”). Unless expressly stated otherwise, Yale denies each and every allegation in the

Second Amended Complaint, including any allegations in the preamble, unnumbered and

numbered paragraphs, titles, headings, subheadings, table of contents, footnotes, exhibits, and

characterization of documents, and specifically denies any liability to Plaintiffs. Unless otherwise

defined, capitalized terms refer to the capitalized terms defined in the Second Amended Complaint,

but any such use is not an acknowledgment or admission of any characterization the Plaintiffs may

ascribe to the terms in the Second Amended Complaint. To the extent not expressly denied, all

allegations for which Yale denies possessing knowledge or information sufficient to form a belief

are denied.

       Yale also rejects all references in the Second Amended Complaint to the 568 Presidents

Group as the “568 Cartel” and denies any suggestion or implication that the 568 Presidents Group

was or is an illegal “Cartel,” as described in the Second Amended Complaint..

                                                   I.

                                         INTRODUCTION

        1.      Defendants are private, national universities that have long been in the top 25 of
the U.S. News & World Report rankings for such schools. These elite institutions occupy a place
of privilege and importance in American society. And yet these same Defendants, by their own
admission, have participated and are participating in a price-fixing cartel that is designed to reduce
or eliminate financial aid as a locus of competition, and that in fact has artificially inflated the net
price of attendance for students receiving financial aid.

       ANSWER: Yale denies the allegations in this paragraph.



        2.      Defendants have participated in this cartel while claiming the protection of Section
568 of the Improving America’s Schools Act of 1994 (the “568 Exemption”). This exemption from
the antitrust laws, laws which otherwise prohibit conspiracies among competitors relating to price,
offered antitrust immunity only to two or more institutions of higher education at which “all

                                                   2
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 3 of 93 PageID #:4704




students admitted are admitted on a need-blind basis.” (Emphasis added.) Section 568 defines “on
a need-blind basis” to mean “without regard to the financial circumstances of the student involved
or the student’s family.” 15 U.S.C. § 1 note. The 568 Exemption expired at midnight on September
30, 2022.

      ANSWER: Yale admits that the 568 Exemption expired on September 30, 2022. Yale

denies the allegations in the first sentence of this paragraph. The remaining allegations contained

in this paragraph are legal conclusions to which no response is required. To the extent a response

is required, Yale denies the allegations in this paragraph.



       3.      Defendants were not entitled to the 568 Exemption. Under a legally compliant
need-blind admissions system, all students must be admitted without regard to their or their
families’ financial circumstances. Far from adhering to this statutory requirement when the 568
Exemption existed, all Defendants have considered the financial circumstances of students or their
families in deciding whether to admit students.

       ANSWER: Yale denies the allegations in this paragraph.



       4.     Defendants have thus made admissions decisions with regard to the financial
circumstances of students and their families, thereby disfavoring students who need financial aid.
All Defendants, in turn, have conspired to reduce the amount of financial aid they provide to
admitted students. This conspiracy, which has existed (with only slightly varying membership) for
many years, thus falls outside any potentially applicable antitrust exemption.

       ANSWER: Yale denies the allegations in this paragraph.



         5.     Defendants are and have been members of the so-called “568 Presidents Group,”
in which the members have agreed on “a set of common standards for determining the family’s
ability to pay for college,” which the members describe as the “Consensus Approach.” Based on
the Consensus Approach, in approximately 2003, the 568 Presidents Group (the “568 Cartel”)
devised the Consensus Methodology, which is a common formula for determining an applicant’s
ability to pay. Under the Consensus Methodology, an applicant’s ability to pay is a substantial
determinant of the net price, which is the institution’s gross tuition plus fees for room and board,
less institutional grant aid, charged to the applicant for attendance.

       ANSWER: Yale denies the allegations in this paragraph.




                                                  3
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 4 of 93 PageID #:4705




        6.      Since its inception, the goal of the 568 Cartel has been, in the words of the Cartel
members, to determine “whether it is possible to reach agreement on common standards for
determining financial need at the institutional level.” Defendants in fact so determined and so
agreed. Defendants have met—and may continue to meet—to devise, agree upon, and collectively
implement common principles and a uniform method for analyzing, offering, and providing
financial aid to admitted students.

       ANSWER: Yale denies the allegations in this paragraph.



        7.      In collectively sharing confidential data and information about admissions and
financial aid, adopting this methodology, and regularly meeting to implement this methodology
jointly, the 568 Cartel has intended to reduce or eliminate, and in fact succeeded in reducing or
eliminating, price competition among its members. As a result, the net price of attendance for
financial-aid recipients at Defendants’ schools—included among the members of the proposed
Class here—has been artificially inflated. In short, due to the conduct challenged herein, over
almost two decades, Defendants have overcharged over 200,000 financial-aid recipients by billions
of dollars collectively, in violation of Section 1 of the Sherman Act.

       ANSWER: Yale denies the allegations in this paragraph.



        8.      This longstanding conspiracy would have been immune from the antitrust laws
when the 568 Exemption existed only if all the conspirators had been complying with the
Exemption. In fact, all Defendants have been members of the 568 Cartel, and thus conspirators,
and none qualified for the 568 Exemption. Instead, all Defendants have considered the financial
circumstances of students and their families in deciding whether to admit waitlisted and transfer
students; Defendants have maintained admissions systems that favor the children of wealthy past
or potential future donors; at least several Defendants have given preference to wealthy applicants
through the largely secretive process known as “enrollment management”; and Columbia has
considered the financial circumstances of students and families in making admission decisions for
its School of General Studies.

       ANSWER: Yale denies the allegations in this paragraph.



         9.    In critical respects, elite, private universities like Defendants are gatekeepers to the
American Dream. Defendants’ misconduct is particularly egregious because it has narrowed a
critical pathway to upward mobility that admission to their institutions represents. The burden of
the 568 Cartel’s overcharges falls especially on low- and middle-income families struggling to
afford the cost of a university education and to achieve success for their children. In addition,




                                                  4
   Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 5 of 93 PageID #:4706




unlike prior admissions scandals, such as Varsity Blues, 1 the 568 Cartel’s systematic suppression
of financial aid, resulting in the artificial inflation of the net price of attendance, has been the
official policy of its participants. As Defendants have succinctly admitted, the purpose of their
Cartel has been—in these specific terms—to “discuss and agree upon common principles of
analysis for determining the financial need of undergraduate financial aid applicants.”

         ANSWER: Yale denies the allegations in this paragraph.



       10.     The 568 Cartel has thus caused substantial injury to Plaintiffs and the other
members of the proposed Class (defined below). Plaintiffs bring this lawsuit to prevent
Defendants’ conspiratorial conduct and to prevent future students from suffering the injury the
ongoing conspiracy has inflicted. Plaintiffs do so without having known until recently that they
had been injured in violation of the 568 Exemption, and under circumstances in which a reasonable
person would have been unaware of the harm resulting from Defendants’ use of the Consensus
Methodology in violation of the 568 Exemption.

         ANSWER: Yale denies the allegations in this paragraph.



        11.    Plaintiffs also seek compensation for themselves and a proposed Class of all U.S.
citizens or permanent residents, who have (a) enrolled in one or more of Defendants’ full-time
undergraduate programs, (b) received need-based financial aid from one or more Defendants, (c)
directly purchased from one of more Defendants education, room, or board not fully covered by
such financial aid, and (d) first enrolled in one of Defendants’ full-time undergraduate programs
during the relevant times (defined below) from January 1, 2003 until the effects of Defendants’
continuing conduct ceases. Members of this “Class” shall be called “Class Members.”

         ANSWER: Yale denies that Plaintiffs have established or can establish the prerequisites

to certification and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and therefore denies the allegations in this paragraph.




1 “Varsity Blues” is law enforcement’s code name for the investigation and prosecution of the college admissions

bribery scandal, which involved allegations that certain universities gave admissions preference to the children of
wealthy parents in exchange for bribes.


                                                          5
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 6 of 93 PageID #:4707




                                                   II.

                                  JURISDICTION AND VENUE

       12.    This Court has subject matter jurisdiction over Plaintiffs’ claims under 28 U.S.C.
§§ 1331, 1332(d)(2), and 1337.

        ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale does not contest that this Court

has subject matter jurisdiction over Plaintiffs’ claims.



         13.    This Court has personal jurisdiction over each Defendant on multiple bases,
including that each Defendant has (1) transacted business in the United States and in this District,
including by recruiting, and advertising for, students residing in this District; (2) transacted
business with Class Members throughout the United States, including those residing in this
District; and (3) committed substantial acts in furtherance of an unlawful scheme in the United
States, including in this District. Each Defendant has recruited, accepted, enrolled, and charged
artificially high net prices of attendance to, and thus injured, individuals residing within this
District. In addition, Defendants have held at least one meeting of the 568 Cartel in Rosemont,
Illinois, which is within this District.

        ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. The

allegations contained in this paragraph are legal conclusions to which no response is required. To

the extent a response is required, Yale does not contest that this Court has personal jurisdiction

over Yale for purposes of this action.



        14.     Venue is proper in this District under 15 U.S.C. §§ 15, 22 and 26, and 28 U.S.C. §
1391(b), (c), and (d), because each Defendant transacted business, was found, had agents, and/or
resided in this District; a substantial part of the events giving rise to Plaintiffs’ claims arose in this
District; and a substantial portion of the affected interstate trade and commerce described herein
has been carried out in this District.

        ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale does not contest that venue is

proper in this District.


                                                    6
     Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 7 of 93 PageID #:4708




        15.     Defendants’ conduct has had a direct, substantial, and reasonably foreseeable effect
on interstate commerce in the United States and in this District. Defendants’ conduct affects
admitted students around the country, including through transactions with parties residing in
different states. Defendants do business across state lines.

         ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



                                                 III.

                                          THE PARTIES

A.       Plaintiffs

        16.     Plaintiff Andrew Corzo attended the University of Chicago as a full-time
undergraduate student from the fall of 2014 until he graduated in the spring of 2018. For each of
these four years, he received need-based financial aid from Chicago, but also paid to Chicago some
costs of tuition, room (in his first year), and board, taking out substantial loans in the process. He
resides in Chicago, Illinois.

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



         17.    Plaintiff Sia Henry attended Duke as a full-time undergraduate student from the fall
of 2007 until she graduated in the spring of 2011. For each of these four years, she paid to Duke
some of the costs of tuition, room, and board. She received need-based financial aid from Duke in
at least two of her four years of attendance. Since graduating from Duke, and subsequently from
Harvard Law School, Ms. Henry has dedicated her career to advocacy on behalf of prisoners, most
recently as a Senior Program Specialist at Impact Justice. She resides in Atlanta, Georgia.

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.




                                                  7
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 8 of 93 PageID #:4709




        18.    Plaintiff Alexander Leo-Guerra is attending Duke as a full-time undergraduate
student. He enrolled in August 2019 and expects to graduate in the spring of 2023. For each of the
first two years he has attended, he received some need-based financial aid from Duke, but also
paid to Duke some of the costs of tuition, room, and board, taking out loans in the process. He
resides in Draper, Utah.

       ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       19.     Plaintiff Michael Maerlender attended Vanderbilt as a full-time undergraduate
student from the fall of 2015 until he graduated in the spring of 2019. For each of these four years,
he received need-based financial aid from Vanderbilt and paid for some of the costs of tuition,
room, and board. He resides in New York, New York.

       ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       20.     Plaintiff Brandon Piyevsky attended Northwestern as a full-time undergraduate
student from the fall of 2013 until he graduated in the spring of 2017. For each of these four years,
he received need-based financial aid from Northwestern and paid for some of the costs of tuition,
room, and board, taking out loans in the process. He resides in Toledo, Ohio.

       ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



         21.    Plaintiff Benjamin Shumate attended Brown University as a full-time
undergraduate student from the fall of 2015 until he graduated in the spring of 2019. For each of
these four years, he received need-based financial aid from Brown and paid for some of the costs
of tuition, room and board. He resides in Providence, Rhode Island.

       ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       22.    Plaintiff Brittany Tatiana Weaver attended Vanderbilt as a full-time undergraduate
student from 2003 until she graduated in 2007. For each of these four years, she received need-

                                                 8
     Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 9 of 93 PageID #:4710




based financial aid from Vanderbilt and paid for some of the costs of tuition, room, and board,
taking out substantial loans in the process. She resides in Farmington Hills, Michigan.

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        23.     Plaintiff Cameron Williams attended Vanderbilt as a full-time undergraduate
student from 2014 until he graduated in 2018. For each of these four years, he received need-based
financial aid from Vanderbilt and paid for some of the costs of tuition, room, and board, taking out
substantial loans in the process. He resides in New York, New York.

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       24.    Plaintiffs thus were and are direct purchasers from Defendants of education, room,
and board, and recipients of need-based financial aid from Defendants.

         ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



B.       Defendants

        25.    Defendants are private, national universities that have been members of the 568
Cartel (most since 2003, and some not continuously) and have been continuously ranked in the top
25 of the U.S. News & World Report rankings for national universities since 2003.

         ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that it is a private university that has been ranked in the top 25 of the U.S. News & World

Report rankings for national universities during certain years. Yale further admits that, upon

information and belief, other Defendants also are private universities that have been ranked in the

top 25 of the U.S. News & World Report rankings for national universities during certain years.


                                                 9
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 10 of 93 PageID #:4711




Yale further admits that it joined the 568 Presidents Group in 1998, withdrew from the 568

Presidents Group in 2008, and then rejoined the 568 Presidents Group in 2018. Yale further admits

that, upon information and belief, other Defendants also have, at some point, been members of the

568 Presidents Group. Yale lacks sufficient knowledge to admit or deny the remaining allegations

in this paragraph.



        26.     Each Defendant acted as the agent of or for the other Defendants with respect to the
acts, violations, and common course of conduct alleged herein. All Defendants are jointly and
severally liable for the acts of all members of the 568 Cartel.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



        27.     Under the rule of joint and several liability, each Defendant is liable for all acts
undertaken and all damages caused in furtherance of the conspiracy alleged herein, even those
committed before the Defendant joined the 568 Cartel. No Defendant that claims to have “left” the
Cartel, but later “rejoined” it, took steps to disavow and repudiate the conspiracy or its goals at
any time. Accordingly, any such Defendant is jointly and severally liable for the conspirators’
conduct throughout the course of the conspiracy. Any Defendant that did not disavow and
repudiate the conspiracy and its goals never withdrew from the Cartel and remains jointly and
severally liable for all of the conspirators’ continuing conduct.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



       28.     any Defendant that claims to have left the Cartel but later rejoined it, assuming that
any such Defendant actually took sufficient steps to fully and formally withdraw, remains jointly
and severally liable for all of the conspirators’ conduct; and any Defendant that did not fully and
formally withdraw from the Cartel remains jointly and several liable for all of the conspirators’
continuing conduct as alleged herein.


                                                 10
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 11 of 93 PageID #:4712




        ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



       29.      Since the enactment of Section 568, in 1994, Defendants’ endowments have all
increased enormously, and with respect to those Defendants for which the information is publicly
available, the growth of their endowments have substantially outpaced the growth in their annual
operating expenses. See Appendix A. 2

        ANSWER: Yale admits that the allegations in this paragraph and in Appendix A purport

to describe some information from Yale’s consolidated financial statements. Yale denies any

allegations in this paragraph that are not consistent with Yale’s consolidated financial statements.

Yale denies the remaining allegations in this paragraph.



                                                     Brown

       30.     Brown University is a private, non-profit institution with its principal place of
business in Providence, Rhode Island.

        ANSWER: Yale admits that, upon information and belief, Brown University is a private,

non-profit institution with its principal place of business in Providence, Rhode Island.



       31.    Brown was established by a charter, approved by the Rhode Island legislature, as
“College of Rhode Island” in 1764. The school was the third college in New England and seventh
in America. The school’s name was changed to Brown in 1804. Brown is a member of the Ivy
League, a consortium of eight elite universities.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.


2 Appendix A compares, for those Defendants for which such information is publicly available, the growth of the

Defendant’s annual operating expenses versus the growth of the Defendant’s endowment from 1994 to 2021.
Appendix A also identifies the rate of growth of every Defendant’s endowment from 1994 to 2021.


                                                       11
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 12 of 93 PageID #:4713




       32.    Brown’s undergraduate student body is generally wealthy and privileged. The
median family income of undergraduates is $204,200; 19% of undergraduates come from the top
1% of the country’s income distribution, and 70% come from the top 20%; and only 4.1% come
from the bottom 20% of the income distribution. 3

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       33.    Brown had an endowment of approximately $608 million in 1994, which has grown
to approximately $6.9 billion in 2021. See Appendix A.4

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                   Caltech

       34.     The California Institute of Technology is a private, non-profit institution with its
principal place of business in Pasadena, California.

        ANSWER: Yale admits that, upon information and belief, the California Institute of

Technology is a private, non-profit institution with its principal place of business in Pasadena,

California.



        35.      CalTech is one of the nation’s leading research universities.




3 Economic Diversity and Student Outcomes at Brown University, N.Y. T IMES,

https://www.nytimes.com/interactive/projects/college-mobility/brown-university.
4 See also Michael Nitezel, Elite University Endowments Soar as Higher Ed Divide Grows, FORBES (Oct. 15, 2021),

https://www.forbes.com/sites/michaeltnietzel/2021/10/15/elite-university-endowments-soar-to-record-
highs/?sh=724aa8932d5f.


                                                       12
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 13 of 93 PageID #:4714




        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       36.    CalTech’s undergraduate student body is generally wealthy and privileged. The
median family income of undergraduates is $146,300; 3% of undergraduates come from the top
1% of the country’s income distribution, and 69% come from the top 20%; and only 2.9% come
from the bottom 20% of the income distribution. 5

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       37.    CalTech had an endowment of approximately $592 million in 1994, which has
grown to approximately $3.8 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                    Chicago

        38.    The University of Chicago is a private, non-profit institution with its principal place
of business in Chicago, Illinois.

        ANSWER: Yale admits that, upon information and belief, the University of Chicago is a

private, non-profit institution with its principal place of business in Chicago, Illinois.



      39.    Chicago was founded in 1890 by the American Baptist Education Society and oil
magnate John D. Rockefeller, who later described the school as “the best investment I ever made.”

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.


5 Economic Diversity and Student Outcomes at the University of California Institute of Technology, N.Y. TIMES,

https://www.nytimes.com/interactive/projects/college-mobility/california-institute-of-technology.


                                                       13
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 14 of 93 PageID #:4715




       40.    Chicago’s undergraduate study body is generally wealthy and privileged. The
median family income of undergraduates is $134,500; 10% of undergraduates come from the top
1% of the country’s income distribution, and 58% come from the top 20%; and only 5.5% come
from the bottom 20% of the income distribution. 6

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       41.    Chicago had an endowment of approximately $1.2 billion in 1994, which has grown
to approximately $11 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                  Columbia

         42.    Trustees of Columbia University in the City of New York is a private, non-profit
institution with its principal place of business in New York, New York.

        ANSWER: Yale admits that, upon information and belief, Trustees of Columbia

University in the City of New York is a private, non-profit institution with its principal place of

business in New York, New York.



         43.     Columbia was established as King’s College by royal charter of King George II of
Great Britain in 1754. It was renamed Columbia College in 1784. In 1896, the campus was moved
to its current location in Morningside Heights and renamed Columbia University. According to its
website, “Columbia University is one of the world’s most important centers of research.”
Columbia is a member of the Ivy League.




6 Economic Diversity and Student Outcomes at the University of Chicago, N.Y. TIMES,

https://www.nytimes.com/interactive/projects/college-mobility/university-of-chicago.


                                                       14
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 15 of 93 PageID #:4716




        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        44.    Columbia’s undergraduate student body, with the exception of its School of
General Studies, discussed below, is generally wealthy and privileged. The median family income
of undergraduates is $150,900; 13% of undergraduates come from the top 1% of the country’s
income distribution, and 62% come from the top 20%; and only 5.1% come from the bottom 20%
of the income distribution. 7

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       45.    Columbia had an endowment of approximately $2 billion in 1994, which has grown
to approximately $14.4 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                    Cornell

        46.  Cornell is a private, non-profit institution with its principal place of business in
Ithaca, New York.

        ANSWER: Yale admits that, upon information and belief, Cornell is a private, non-profit

institution with its principal place of business in Ithaca, New York.



       47.    Cornell was founded in 1865, as a private, land-grant institution of New York State.
According to its website, Cornell has been described as “the first truly American university
because of its founders’ revolutionary egalitarian and practical vision of higher education.”
(Emphasis in original.) Cornell is a member of the Ivy League.



7 Economic Diversity and Student Outcomes at Columbia University, N.Y. T IMES,

https://www.nytimes.com/interactive/projects/college-mobility/columbia-university.


                                                       15
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 16 of 93 PageID #:4717




        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       48.    Cornell’s undergraduate student body is generally wealthy and privileged. The
median family income of undergraduates is $151,600; 10% of undergraduates come from the top
1% of the country’s income distribution, and 64% come from the top 20%; and only 3.8% come
from the bottom 20% of the income distribution. 8

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       49.    Cornell had an endowment of approximately $898 million in 1994, which has
grown to approximately $10 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                  Dartmouth

       50.     Trustees of Dartmouth College is a private, non-profit institution with its principal
place of business in Hanover, New Hampshire.

        ANSWER: Yale admits that, upon information and belief, Trustees of Dartmouth College

is a private, non-profit institution with its principal place of business in Hanover, New Hampshire.



       51.   According to Dartmouth’s website: “Founded in 1769, Dartmouth is a member of
the Ivy League and consistently ranks among the world’s greatest academic institutions.”
Dartmouth’s website also claims that “Dartmouth College educates the most promising students.”




8 Economic Diversity and Student Outcomes at Cornell University, N.Y. T IMES,

https://www.nytimes.com/interactive/projects/college-mobility/cornell-university.


                                                        16
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 17 of 93 PageID #:4718




        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       52.    Dartmouth’s undergraduate student body is generally wealthy and privileged. The
median family income of undergraduates is $200,400; 21% of undergraduates come from the top
1% of the country’s income distribution, and 69% come from the top 20%; and only 2.6% come
from the bottom 20% of the income distribution. 9

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       53.    Dartmouth had an endowment of approximately $870 million in 1994, which has
grown to approximately $8.5 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                     Duke

       54.    Duke University is a private, non-profit institution with its principal place of
business in Durham, North Carolina.

        ANSWER: Yale admits that, upon or information and belief, Duke University is a private,

non-profit institution with its principal place of business in Durham, North Carolina.



      55.     Duke’s undergraduate student body is generally wealthy and privileged. The
median family income of undergraduates is $186,700; 19% of undergraduates come from the top




9 Economic Diversity and Student Outcomes at Dartmouth College, N.Y. TIMES

https://www.nytimes.com/interactive/projects/college-mobility/dartmouth-college.


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  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 18 of 93 PageID #:4719




1% of the country’s income distribution, and 69% come from the top 20%; and only 3.9% come
from the bottom 20% of the income distribution. 10

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       56.    Duke had an endowment of approximately $699 million in 1994, which has grown
to approximately $12.7 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                    Emory

       57.     Emory University is a private, non-profit institution with its principal place of
business in Atlanta, Georgia.

        ANSWER: Yale admits that, upon information and belief, Emory University is a private,

non-profit institution with its principal place of business in Atlanta, Georgia.



        58.      Emory was established by charter of the Georgia legislature in 1836.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



      59.     Emory’s undergraduate student body is generally wealthy and privileged. The
median family income of undergraduates is $139,800; 15% of undergraduates come from the top




10 Economic Diversity and Student Outcomes at Duke University, N.Y. TIMES

https://www.nytimes.com/interactive/projects/college-mobility/duke-university.


                                                       18
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 19 of 93 PageID #:4720




1% of the country’s income distribution, and 58% come from the top 20%; and only 6% come
from the bottom 20% of the income distribution. 11

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       60.    Emory had an endowment of approximately $1.6 billion in 1994, which has grown
to approximately $8 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                 Georgetown

       61.    Georgetown University is a private, non-profit institution with its principal place of
business in Washington, District of Columbia.

        ANSWER: Yale admits that, upon information and belief, Georgetown University is a

private, non-profit institution with its principal place of business in Washington, District of

Columbia.



         62.    According to its website: “Georgetown University is the oldest Catholic and Jesuit
institution of higher learning in the United States.”

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



      63.     Georgetown’s undergraduate student body is generally wealthy and privileged. The
median family income of undergraduate students is $229,100; 21% of undergraduates come from



11 Economic Diversity and Student Outcomes at Emory University N.Y. TIMES

https://www.nytimes.com/interactive/projects/college-mobility/emory-university.


                                                       19
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 20 of 93 PageID #:4721




the top 1% of the country’s income distribution, and 74% come from the top 20%; and only 3.1%
come from the bottom 20% of the income distribution. 12

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       64.    Georgetown had an endowment of approximately $343 million in 1994, which has
grown to approximately $2.6 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                               Johns Hopkins

       65.     The Johns Hopkins University is a private, non-profit institution with its principal
place of business in Baltimore, Maryland.

        ANSWER: Yale admits that, upon information and belief, the Johns Hopkins University

is a private, non-profit institution with its principal place of business in Baltimore, Maryland.



       66.   Johns Hopkins, the oldest research university in the United States, was founded in
1876 and named after the American philanthropist and entrepreneur Johns Hopkins.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



      67.    Johns Hopkins’ undergraduate student body is generally wealthy and privileged.
The median family income of undergraduate students is $177,300; 11% of the undergraduates




12 Economic Diversity and Students Outcomes at Georgetown University, N.Y. TIMES,

https://www.nytimes.com/interactive/projects/college-mobility/georgetown-university.


                                                       20
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 21 of 93 PageID #:4722




come from the top 1% of the country’s income distribution, and 72% come from the top 20%; and
only 2.9% come from the bottom 20% of the income distribution. 13

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       68.    Johns Hopkins had an endowment of approximately $747 million in 1994, which
has grown to approximately $9.3 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                     MIT

        69.      The Massachusetts Institute of Technology is a private, non-profit institution with
its principal place of business in Cambridge, Massachusetts.

        ANSWER: Yale admits that, upon information and belief, the Massachusetts Institute of

Technology is a private, non-profit institution with its principal place of business in Cambridge,

Massachusetts.



       70.     MIT is regularly ranked in the top five in international rankings of the world’s best
research universities.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       71.    MIT’s undergraduate student body is generally wealthy and privileged. The median
family income of undergraduates is $137,400; 5.7% of undergraduates come from the top 1% of



13 Economic Diversity and Students Outcomes at Johns Hopkins University, N.Y. T IMES,

https://www.nytimes.com/interactive/projects/college-mobility/georgetown-university.


                                                      21
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 22 of 93 PageID #:4723




the income distribution, and 61% come from the top 20%; and only 6.2% come from the bottom
20% of the income distribution. 14

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       72.    MIT had an endowment of approximately $1.8 billion in 1994, which has grown to
approximately $27.4 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                Northwestern

       73.     Northwestern University is a private, non-profit institution with its principal place
of business in Evanston, Illinois. Northwestern was founded in 1853.

        ANSWER: Yale admits that, upon information and belief, Northwestern University is a

private, non-profit institution with its principal place of business in Evanston, Illinois.



       74.    Northwestern’s undergraduate student body is generally wealthy and privileged.
The median family income of Northwestern’s undergraduates is $171,200; 14% of undergraduates
come from the top 1% of the income distribution, and 66% come from the top 20%; and only 3.7%
come from the bottom 20% of the income distribution. 15

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.




14 Economic Diversity and Student Outcomes at Massachusetts Institute of Technology, N.Y. T IMES,

https://www.nytimes.com/interactive/projects/college-mobility/massachusetts-institute-of-technology.
15 Economic Diversity and Student Outcomes at Northwestern University, N.Y. TIMES,

https://www.nytimes.com/interactive/projects/college-mobility/northwestern-university.


                                                       22
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 23 of 93 PageID #:4724




       75.    Northwestern had an endowment of approximately $1.3 billion in 1994, which has
grown to approximately $14.9 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                Notre Dame

       76.     The University of Notre Dame du Lac is a private, non-profit institution with its
principal place of business in South Bend, Indiana.

        ANSWER: Yale admits that, upon information and belief, the University of Notre Dame

du Lac is a private, non-profit institution with its principal place of business in South Bend,

Indiana.



      77.      Notre Dame was founded in 1842. According to its website, Notre Dame is “[o]ne
of America’s leading undergraduate teaching institutions.”

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       78.    Notre Dame’s undergraduate student body is generally wealthy and privileged. The
median family income of undergraduates is $191,400; 15% of undergraduates come from the top
1% of the income distribution, and 75% come from the top 20%; and only 1.6% come from the
bottom 20% of the income distribution. 16

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.




16 Economic Diversity and Student Outcomes at Notre Dame, N.Y. TIMES,

https://www.nytimes.com/interactive/projects/college-mobility/notre-dame.


                                                       23
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 24 of 93 PageID #:4725




       79.    Notre Dame had an endowment of approximately $879 million in 1994, which has
grown to approximately $22.5 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                     Penn

        80.     The Trustees of the University of Pennsylvania is a private, non-profit institution
with its principal place of business in Philadelphia, Pennsylvania.

        ANSWER: Yale admits that, upon information and belief, the Trustees of the University

of Pennsylvania is a private, non-profit institution with its principal place of business in

Philadelphia, Pennsylvania.



       81.    Penn was founded in 1740 by Benjamin Franklin. As of 2014, Penn had 25
undergraduate alumni that were billionaires, more than any other university in the world. 17 Penn
is a member of the Ivy League.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       82.    Penn’s undergraduate student body is generally wealthy and privileged. The
median family income of undergraduates is $195,500; 19% of undergraduates come from the top
1% of the income distribution, and 71% come from the top 20%; and only 3.3% come from the
bottom 20% of the income distribution. 18

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.


17 Emily Jane Fox, Top 20 Colleges with Most Billionaire Alumni, CNN (Sept. 17, 2014),

https://money.cnn.com/2014/09/16/luxury/top-colleges-with-billionaire-undergraduates/.
18 Economic Diversity and Student Outcomes at the University of Pennsylvania, N.Y. TIMES,

https://www.nytimes.com/interactive/projects/college-mobility/university-of-pennsylvania.


                                                       24
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 25 of 93 PageID #:4726




       83.    Penn had an endowment of approximately $1.5 billion in 1994, which has grown
to approximately $20.5 billion in 2021. See Appendix A.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                       Rice

       84.     The William Marsh Rice University is a private, non-profit institution with its
principal place of business in Houston, Texas.

        ANSWER: Yale admits that, upon information and belief, the William Marsh Rice

University is a private, non-profit institution with its principal place of business in Houston, Texas.



        85.      Rice was founded in 1891 by Houston businessman William Marsh Rice.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        86.   Rice’s undergraduate student body is generally wealthy and privileged. The median
family income of undergraduates is $160,800; 9.8% of undergraduates come from the top 1% of
the income distribution, and 64% come from the top 20%; and only 4.9% come from the bottom
20% of the income distribution. 19

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       87.    Rice had an endowment of approximately $1.3 billion in 1994, which has grown to
approximately $8.1 billion in 2021. See Appendix A.


19 Economic Diversity and Student Outcomes at Rice University, N.Y. T IMES,

https://www.nytimes.com/interactive/projects/college-mobility/rice-university.


                                                        25
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 26 of 93 PageID #:4727




        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                  Vanderbilt

       88.    Vanderbilt University is a private, non-profit institution with its principal place of
business in Nashville, Tennessee.

        ANSWER: Yale admits that, upon information and belief, Vanderbilt University is a

private, non-profit institution with its principal place of business in Nashville, Tennessee.



        89.    Vanderbilt was founded in 1873 and named in honor of Cornelius Vanderbilt, who
donated a founding gift. According to Vanderbilt’s website, “the university’s prominent alumni
base includes Nobel Prize winners, members of Congress, governors, ambassadors, judges,
admirals, CEOs, university presidents, physicians and attorneys, as well as professional sports
figures playing in the NFL, NBA, Major League Baseball, the PGA and LPGA.”

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       90.    Vanderbilt’s undergraduate student body is generally wealthy and privileged. The
median family income of undergraduates is $204,500; 23% of undergraduates come from the top
1% of the income distribution, and 70% come from the top 20%; and only 1.9% come from the
bottom 20% of the income distribution. 20

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       91.    Vanderbilt had an endowment of approximately $860 million in 1994, which has
grown to approximately $10.9 billion in 2021. See Appendix A.



20 Economic Diversity and Student Outcomes at Vanderbilt University, N.Y. TIMES,

https://www.nytimes.com/interactive/projects/college-mobility/vanderbilt-university.


                                                        26
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 27 of 93 PageID #:4728




        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



                                                      Yale

       92.    Yale University is a private, non-profit institution with its principal place of
business in New Haven, Connecticut.

        ANSWER: Yale admits the allegations in this paragraph.



       93.      Originally chartered by the legislature of Connecticut as the Collegiate School in
1701 in multiple locations, the school was moved to New Haven in 1716 and renamed Yale in
1718, after a wealthy British merchant and philanthropist, Elihu Yale. It is the third-oldest
university in the United States. Yale is a member of the Ivy League.

        ANSWER: Yale admits that it was chartered by the Connecticut legislature in 1701, that

it moved to New Haven in 1716, that it was renamed after Elihu Yale, that it is a member of the

Ivy League, and that it is generally recognized as the third-oldest university in the United States.

Yale denies the remaining allegations in this paragraph.



        94.   Yale’s undergraduate study body is generally wealthy and privileged. The median
family income of undergraduates is $192,600; 19% of undergraduates come from the top 1% of
the income distribution, and 69% come from the top 20%; and only 2.1% come from the bottom
20% of the income distribution. 21

        ANSWER: Yale admits that the figures in this paragraph purport to appear in the N.Y.

TIMES article entitled, “Economic Diversity and Student Outcomes at Yale University.” Yale

denies the remaining allegations in this paragraph.




21 Economic Diversity and Student Outcomes at Yale University, N.Y. T IMES,

https://www.nytimes.com/interactive/projects/college-mobility/yale-university.


                                                        27
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 28 of 93 PageID #:4729




       95.     Yale had an endowment of approximately $3.5 billion in 1994, which has grown to
approximately $42.3 billion in 2021. See Appendix A. This is the second-highest endowment of
any university in the United States.

       ANSWER: Yale admits that the figures in this paragraph purport to describe information

from Yale’s consolidated financial statements. Yale denies any allegations in this paragraph that

are inconsistent with Yale’s consolidated financial statements.



                                               IV.

                  DEFENDANTS’ MEMBERSHIP IN THE 568 CARTEL

      96.     The 568 Cartel was formed in 1998. Columbia, Cornell, Duke, Georgetown, MIT,
Northwestern, and Notre Dame have been members of the 568 Cartel since 1998 and first
implemented the Consensus Methodology in 2003.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that, upon information and belief, the 568 Presidents Group was formed in 1998. Yale

lacks sufficient knowledge to admit or deny the remaining allegations in this paragraph.



      97.    Brown joined the 568 Cartel in 1998 and first implemented the Consensus
Methodology in 2004.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



      98.    CalTech joined the 568 Cartel in 2019 and first implemented the Consensus
Methodology the same year.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.




                                                28
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 29 of 93 PageID #:4730




      99.    Chicago joined the 568 Cartel in 1998 and first implemented the Consensus
Methodology in 2003.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



      100. Dartmouth joined the 568 Cartel in 1998 and first implemented the Consensus
Methodology in 2004.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



      101. Emory joined the 568 Cartel in 1998 and first implemented the Consensus
Methodology in 2003.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



        102. Johns Hopkins joined the 568 Cartel in 2021, has taken overt steps in furtherance
of the conspiracy alleged herein (including meeting with Defendants and discussing the Consensus
Methodology with them), and first implemented the Consensus Methodology with respect to Early
Decision applicants in 2021.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy and further

denies that any alleged meetings were “overt steps in furtherance of the conspiracy.” Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



      103. Rice joined the 568 Cartel in 1998 and first implemented the Consensus
Methodology in 2003.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.


                                               29
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 30 of 93 PageID #:4731




      104. Penn joined the 568 Cartel in 1998 and first implemented the Consensus
Methodology in 2003.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



      105. Vanderbilt joined the 568 Cartel in 1998 and first implemented the Consensus
Methodology in 2003.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



      106. Yale joined the 568 Cartel in 1998 and first implemented the Consensus
Methodology in 2003.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that it joined the 568 Presidents Group in 1998, withdrew from the 568 Presidents Group

in 2008, and then rejoined the 568 Presidents Group in 2018. Yale denies the remaining allegations

in this paragraph.



        107. Certain Defendants claim to have stopped participating in the 568 Cartel at various
points in time since 2003, but Plaintiffs are unaware of any evidence that any Defendant disavowed
and repudiated the conspiracy and its goals. Accordingly, no Defendant withdrew from the
conspiracy. Accordingly, since 2003 and through the present, the determinants of the net price of
attending Defendants’ schools have been established through the conspiracy.

       ANSWER: Yale denies the allegations in this paragraph.




                                               30
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 31 of 93 PageID #:4732




                                                 V.

         DEFENDANTS’ VIOLATION OF THE FEDERAL ANTITRUST LAWS

A.     Defendants Have Colluded on Their Financial-Aid Practices

       108. Defendants are purported competitors in enrolling highly selective undergraduate
student bodies and providing an undergraduate education. People throughout the United States
apply for admission to Defendants’ undergraduate programs.

       ANSWER: Yale admits that, upon information and belief, there are people who apply for

admission to Yale who may also apply for admission to the other Defendant schools, among many

other schools, in any given year. Yale further admits that people in various parts of the United

States apply for admission to Yale’s undergraduate programs. Yale lacks sufficient knowledge to

admit or deny the remaining allegations in this paragraph.



       109. Each Defendant annually sends out thousands of solicitations and mailings and
receives thousands of admission applications that cross state lines, including thousands of
applications from Class Members. Out-of-state students, including thousands of Class Members,
make up a substantial percentage of each Defendant’s undergraduate population.

       ANSWER: Yale admits that it communicates with applicants throughout the United States

and receives applications from prospective students throughout the United States. Yale denies that

Plaintiffs have established or can establish the prerequisites to certification and/or maintenance of

the alleged “Class” pursuant to Rule 23 of the Federal Rules of Civil Procedure, and therefore

denies that any of the Defendants receive applications from Class Members. Yale lacks sufficient

knowledge to admit or deny the remaining allegations in this paragraph.



        110. Each Defendant annually receives millions of dollars that flow across state lines in
tuition payments, grants, donations, and athletic ticket sales and sponsorships. Each Defendant
markets its undergraduate programs and tickets for athletic events to the public across state lines.




                                                 31
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 32 of 93 PageID #:4733




       ANSWER: Yale admits that it receives tuition payments, grants, donations, and money

from athletic ticket sales across state lines. The remaining allegations in this paragraph that relate

to Yale are not susceptible to being answered because of their ambiguity or vagueness. To the

extent an answer is required, Yale denies the remaining allegations in this paragraph. Yale further

lacks sufficient knowledge to admit or deny the allegations as they relate to the other Defendants

in this paragraph.



        111. Defendants have engaged in a continuing conspiracy in unreasonable restraint of
interstate trade and commerce in violation of Section 1 of the Sherman Act. This conspiracy, to
the extent it continues, is likely to continue unless the relief sought herein is granted.

       ANSWER: Yale denies the allegations in this paragraph.



        112. This conspiracy has consisted of an agreement, understanding, and concert of action
among Defendants, and each of them, the substantial terms of which are to restrain price
competition relating to their provision of financial aid for students, and thereby to increase the net
price of attending these institutions (“the net price of attendance”).

       ANSWER: Yale denies the allegations in this paragraph.



       113. The 568 Cartel generally meets in person as a group at least twice each year. In
October 2017, for example, the 568 Cartel held one of its official biannual meetings at the Hilton
Rosemont, in Rosemont, Illinois, near O’Hare International Airport. On information and belief,
568 Cartel members communicate with each other about matters related to the conspiracy through
other means as well, such as telephone calls, video calls, emails, and messaging.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that, during the time it was and has been a member of the 568 Presidents Group, the Group

periodically met in person and sometimes communicated by other means, but denies that those

meetings and communications were done in furtherance of any purported conspiracy. Yale denies

the remaining allegations in this paragraph.


                                                 32
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 33 of 93 PageID #:4734




        114. Until the fall of 2022, Defendants maintained a public-facing website for purpose
of representing the 568 Cartel and its purposes to the public. The website stated: “This site serves
as a resource . . . for visitors seeking to learn more about the Group.” 22 The website explained that
the “568 Presidents Group is an affiliation of colleges and universities, all of which must admit
students on a need-blind basis.” An FAQ section on the website added: “It is referred to as a
‘Presidents’ group because it was formed by a group of 28 college and university presidents from
need-blind schools in 1998.” The website also contained the form of a certificate of compliance
whereby a member of the group could certify that “its admission and financial aid practices
currently comply with the rules of Section 568 regarding ‘need-blind admission practices.’” These
statements on the website misled the public by representing that the 568 Cartel members’ practices
were compliant with Section 568. The truth, as alleged further below, is the opposite.

        ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that the 568 Presidents Group had a website and that language from the website is included

in this paragraph. Yale denies the remaining allegations in this paragraph.



        115. The 568 Cartel has fixed prices through a formula that is based on a “set of common
standards for determining the family’s ability to pay for college.” The 568 Cartel calls this formula
the “Consensus Methodology.” Defendants admitted on their own website that the “purposes” of
the 568 Cartel include, collectively, to “Discuss and agree upon common principles of analysis for
determining the financial need of undergraduate financial aid applicants”; to “Build, maintain, and
revise, as appropriate, a Consensus Approach need analysis methodology that is consistent with
these principles”; and to “Explore ways of developing a data exchange program.”

        ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that the 568 Presidents Group developed a Consensus Methodology of voluntary general

recommendations for assessing student need. Yale further admits that the 568 Presidents Group

had a website and that language from the website is included in this paragraph. Yale denies the

remaining allegations in this paragraph.



      116. Defendants further conceded that the “Consensus Methodology” would, in their
own words, contain “certain key components, including: 1) common elements of need analysis . .

22 568 PRESIDENTS GROUP, http://www.568group.org/home/.




                                                   33
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 34 of 93 PageID #:4735




.; 2) a common calendar for the collection of data from families; 3) a means of training aid
professionals in the application of the Methodology; and 4) an oversight 568 Group to review and
modify the methodology as needed over time.”

       ANSWER: Yale admits that the 568 Presidents Group developed a Consensus

Methodology of voluntary general recommendations for assessing student need. Yale further

admits that the 568 Presidents Group had a website and that language from the website is included

in this paragraph. Yale denies the remaining allegations in this paragraph.



       117. Critical components of the 568 Cartel have therefore been the development of a
“data exchange program” and the agreement to share information about admissions and financial-
aid methodology, and then to meet regularly to discuss this data and information, to enable the
Cartel members to agree to use a common methodology for determining financial-aid awards for
the purposes of coordinating financial-aid awards among Cartel members. The common
methodology assesses the income and assets of given financial-aid applicants and their families to
determine the applicants’ ability to pay and thus the financial contribution that the applicant is
expected to make.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that the 568 Presidents Group developed a Consensus Methodology of voluntary general

recommendations for assessing student need, shared information about financial aid approaches,

and periodically met to discuss the Group’s activities. Yale denies the remaining allegations in

this paragraph.



        118. The applicants’ assessed ability to pay therefore is a key determinant in the net price
of attendance. The 568 Cartel has used the shared, competitively sensitive information about
enrollment, costs, and other data relating to Defendants’ available resources for financial aid to
arrive at a common and agreed formula for setting ability to pay, which results in artificially
inflated net prices of attendance.

       ANSWER: Yale denies the allegations in this paragraph.



       119. Members of the 568 Cartel began meeting sometime after the enactment of Section
568 in 1994. The 568 Cartel was officially formed in 1998.

                                                34
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 35 of 93 PageID #:4736




        ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that, upon information and belief, the 568 Presidents Group was formed in 1998 and

members of the Group began meeting sometime after the enactment of Section 568.



        120. As of July 2001, Dartmouth had not joined the 568 Cartel. According to
Dartmouth’s then-Dean of Admissions and Financial Aid, Karl Furstenberg, as of 2001 Dartmouth
had a “need analysis methodology that [was] perhaps more enlightened, more generous and more
flexible than” that of the 568 Cartel, and Dartmouth was “actually doing more than this new
methodology would allow.” 23 Not long after Mr. Furstenberg made these statements, however,
Dartmouth decided to join the 568 Cartel, implemented the Consensus Methodology, and took
other steps in furtherance of the conspiracy as alleged herein.

        ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



        121. The 568 Cartel has monitored and enforced its combination and conspiracy in
several ways, according to the Cartel’s website, including (but not limited to) such steps as (a)
requiring each participating institution to submit a “Certificate of Compliance,” (b) requiring
university professionals at each institution to receive “training . . . in the application of the
Methodology,” (c) imposing a “common calendar for the collection of data from families,” and (d)
conducting an annual or biannual meeting every year since 2007.

        ANSWER: Yale denies the allegations in this paragraph.

       122. At midnight on September 30, 2022, the 568 Exemption expired. The 568 Cartel
website is now blank except for the following message: “The 568 Presidents Group (and all of its
Committees) has been formally dissolved, effective November 4, 2022. Thank you.”

        ANSWER: Yale admits that the 568 Exemption expired on September 30, 2022. Yale

further admits that the 568 Presidents Group had a website, and that the website is no longer

available. Yale lacks sufficient knowledge to admit or deny the remaining allegations in this

paragraph.



23 Shevani Jaisingh, 28 Colleges Alter Financial Aid Packages, THE DARTMOUTH (July 17, 2001),

https://www.thedartmouth.com/article/2001/07/28-colleges-alter-fin-aid-packages.


                                                       35
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 36 of 93 PageID #:4737




                                                       VI.

         DEFENDANTS’ ANTICOMPETITIVE CONDUCT HAS RAISED NET PRICES

        123. As higher-education insiders—including employees and officers of the institutions
in the 568 Cartel—have acknowledged, the Cartel has limited competition in financial-aid offers
from supposedly competing schools, driving down aid packages and thereby driving up the net
price of attendance for aid-eligible students.

          ANSWER: Yale denies the allegations in this paragraph.



        124. Yale claims not to have participated in the 568 Cartel from 2008 until 2018. Yale
claims it left the Cartel because it determined that membership in the Cartel had restricted the
amount of financial aid that Yale could provide to students. That is, Yale’s decision to increase
financial-aid awards to eligible students prompted it to want to no longer participate. In so doing,
referring to a new policy to be implemented in early 2009, Yale stated that its “new, more generous
aid policy in January means the University can no longer follow the consensus methodology.” 24

          ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that it did not participate in the 568 Presidents Group from 2008 until 2018. Yale further

admits that the quoted language in this paragraph appears in a student newspaper article entitled,

“University Leaves Financial Aid Group,” but denies the Second Amended Complaint’s

mischaracterization of those statements as attributed to Yale. Yale denies that the purported

quotations accurately reflect Yale’s actions, views, or understanding. Yale denies the remaining

allegations in this paragraph.



       125. Yale’s then-Director of Student Financial Services, Caesar Storlazzi, concluded:
“By leaving the 568 Group, Yale is now free to give families more aid than they would have gotten
under the consensus methodology.” 25 Storlazzi stated that what is “not good” about the Cartel’s


24 Caitlin Roman, University Leaves Financial Aid Group, YALE DAILY NEWS (Sept. 26, 2008),

https://yaledailynews.com/blog/2008/09/26/university-leaves-financial-aid-group/.
25 Id.




                                                       36
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 37 of 93 PageID #:4738




approach is that it has “one needs-analysis formula that everyone has to sign on to.” 26 The
connection between Yale’s withdrawal and the effect on net prices was explicit: “In other words,
the percentage of a family’s income and assets that Yale takes as a parental contribution is now
lower than the percentage taken by 568 schools.” 27 (Yale evidently rejoined the Cartel in 2018,
without fanfare.) In other words, Yale understood that active members of the 568 Cartel were
required to agree to and impose the Consensus Methodology, which had the effect of suppressing
the amount of financial aid it could offer to all its students systematically. Only by attempting to
pull out of the Cartel could Yale or any Cartel member be free to offer competitively better
financial-aid offers, and charge lower net prices for attendance, to all Class Members.

         ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that the quoted language in this paragraph appears in a student newspaper article entitled,

“University     Leaves     Financial    Aid     Group,”     but   denies     the   Amended       Complaint’s

mischaracterization of those statements as attributed to Yale. Yale denies that the purported

quotations accurately reflect Yale’s actions, views, or understanding.                Yale lacks sufficient

knowledge to admit or deny whether any statements attributed to Mr. Storlazzi accurately reflect

his statements to the author of the article or the context for any such statements. Yale denies the

remaining allegations in this paragraph.



        126. Other universities have similarly declined to participate in the 568 Cartel because
it would limit the financial aid they could provide. Harvard’s then-Director of Financial Aid, Sally
Donahue, said in 2008 that Harvard never joined the 568 Cartel because its financial-aid formula
would have yielded financial-aid packages that were smaller than what Harvard wanted to award. 28
In 2015, one anonymous university president who refused to participate in the 568 Cartel described
it as “an insider’s game” that belonged to a “bygone era.” Observing that some schools had left
the 568 Cartel to offer more financial aid, this anonymous president opined that “the notion of a
collective that would constrain money is counter to public policy.” 29




26 Id.


27 Id.


28 Id.


29 The Education Conservancy, Financial Aid: Examining the Thinking Behind the Policy (June 2015),

https://www.educationconservancy.org/PresidentialThinking.pdf.


                                                      37
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 38 of 93 PageID #:4739




       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



       127. Indeed, the website of the 568 Presidents Group stated in relevant part: “The
Consensus Approach . . . seeks to reduce much of the variance in need analysis results that has
been experienced in recent years.” The website went on to state that the “participating institutions
believe that the Consensus Approach, when applied in a consistent manner, serves to diminish or
eliminate . . . divergent results.”

       ANSWER: Yale admits that the 568 Presidents Group had a website and that language

from the website is included in this paragraph. Yale denies the remaining allegations in this

paragraph.



        128. The phrases “reduce much of the variance,” “consistent manner,” and “diminish or
eliminate divergent results,” in the opaque world of higher-education pricing, are code words
meaning that the purpose of the 568 Cartel has been to reduce or eliminate competition between
Cartel members over offers of financial aid to prospective students. And elimination of
competition over financial-aid offers is simply a means of coalescing around a uniform and lower
level of aid to all prospective students. The result of the 568 Cartel has thus been not only to reduce
the amount of total aid offered by each school, but also to reduce the total amount of aid offered
to each prospective student at each Defendant school.

       ANSWER: Yale denies the allegations in this paragraph.



        129. In addition, to diminish variance in prices, according to the 568 Cartel’s own
website, the members “discuss and agree” on how to determine financial need. Under antitrust
principles, the fact that members of the 568 Cartel agree to share confidential and competitively
sensitive information and data on admissions and their respective applicants, and then further agree
to impose a common methodology for determining financial-aid awards, are themselves evidence
that the Cartel reduced such aid. If Defendants were truly competing, they would not engage in
such behavior and reach such agreements because they would be incentivized to increase aid and
reduce net prices of attendance to compete for students. In the absence of the anticompetitive
conduct challenged herein, that would mean the awarding of more financial aid and reduction of
net prices of attendance for all students in the proposed Class.

       ANSWER: Yale denies the allegations in this paragraph.



                                                  38
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 39 of 93 PageID #:4740




        130. Indeed, in a March 2014 interview with The Georgetown Voice, John DeGioia, who
has been both the President of Georgetown and the President of the 568 Cartel for several years,
was clear about the purpose of the Cartel: “I actually chair that group, called the 568 group. The
568 refers to a passage in Higher Reauthorization Bill about a decade ago. . . . What it enables us
to do is develop a common formula by which we would access the need of the student. We ask the
family to contribute the maximum that they are capable of, according to that formula.” 30 The 568
Cartel—whose member schools have enormous endowments, which have been growing
substantially for decades—thus develops a “common formula” to extract from working- and
middle-class families “the maximum that they are capable of” paying.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in the first

and second sentences of this paragraph. Yale denies the allegations in the last sentence of this

paragraph, and further denies the existence of any purported “Cartel” or conspiracy.



        131. The 568 Exemption allowed the 568 Cartel members not to compete in certain ways
only if all the members admitted all students on a need-blind basis. Plaintiffs show herein,
however, that by their own actions, Defendants did not satisfy this provision and thus none was
entitled to the Exemption. Accordingly, Defendants are all liable for the reduced aid and artificially
high net prices of attendance for Class Members that resulted from their agreement and related
conspiratorial misconduct.

        ANSWER: Yale denies the allegations in this paragraph.



        132. Absent the alleged collusion, Defendants would compete, or compete more
aggressively, on price for the students they have decided to admit because these are the students
the admissions department has decided would satisfy the goals of the admissions process—among
other things, to generate a diverse student body of high academic performers and student-athletes.
Defendants view enrolling such students as critical to maintaining their prestige and influence and
continuing to attract donations.

        ANSWER: Yale denies the allegations in this paragraph.



        133. Given that a large percentage of families cannot afford an elite university education
for their children without financial assistance, the 568 Cartel has enabled Defendants to maintain



30 Connor Jones, On the Record with President DeGioia, THE GEORGETOWN VOICE (Mar. 6, 2014) (emphasis

added), https://georgetownvoice.com/2014/03/06/record-president-degioia/.


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  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 40 of 93 PageID #:4741




artificially inflated net prices of attendance, through artificially reduced financial aid, without
losing admitted students to competitor schools.

       ANSWER: Yale denies the allegations in this paragraph.



        134. In short, Defendants’ anticompetitive conduct has produced overcharges in the net
prices of attendance for all Class Members.

       ANSWER: Yale denies the allegations in this paragraph.



                                                 VII.

      ALLEGATIONS RELATED TO DEFENDANTS’ ANTICIPATED DEFENSES

        135. While participating in the conspiracy alleged herein, Defendants have failed to
conduct their admissions practices on a need-blind basis because all of them made admissions
decisions taking into account the financial circumstances of applicants and their families, through
policies and practices that favored the wealthy and disfavored those needing aid, including but not
limited to those described below.

       ANSWER: Yale denies the allegations in this paragraph.



       136. Section 568 defines “on a need-blind basis” to mean “without regard to the financial
circumstances of the student involved or the student’s family.”

       ANSWER: Yale admits that Section 568 is a statutory exemption from the antitrust laws.

The remaining allegations contained in this paragraph are legal conclusions to which no response

is required. To the extent a response is required, Yale denies the allegations in this paragraph.



        137. An admissions practice can be described as “need-aware,” as some admissions
offices have used the phrase, if the institution considers an applicant’s inability or ability to afford
the full price of tuition, room, and board as a factor weighing against acceptance in at least some
admissions decisions.




                                                  40
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 41 of 93 PageID #:4742




       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



A.     Defendants Do Not Employ “Need-Blind” Admissions Policies in Deciding Whether
       to Admit Waitlisted and Transfer Applicants

       138. The language of Section 568, as well as its legislative history, makes clear that to
qualify for the 568 Exemption, a school must follow need-blind admissions with respect to all
applicants, including those on the waitlist. Section 568 was modeled on the settlement reached
between MIT and the Department of Justice in a case against the predecessor to the 568 Cartel,
which operated for decades until the early 1990s. It was known as the Overlap Group. The MIT
settlement defined “need-blind admissions” to mean “admit[ting] all United States citizens to its
undergraduate programs without regard to family financial circumstances, other than admitted
from a wait list.” (Emphasis added.) In enacting Section 568, Congress generally followed the
terms of MIT’s settlement, but it omitted the exception for waitlisted students.

       ANSWER: Yale admits that Section 568 is a statutory exemption from the antitrust laws.

The remaining allegations contained in this paragraph are legal conclusions to which no response

is required. To the extent a response is required, Yale denies the allegations in this paragraph.



        139. All Defendants, on information and belief, have considered the financial need of
waitlisted applicants—both in deciding whether to put them on the waitlist and deciding whether
to admit them—despite Section 568’s requirement that “all students admitted” be admitted on a
need-blind basis. The precise number of affected students varies from Defendant to Defendant, but
all schools place a substantial number of its students on their respective waitlists each year, and
most Defendants place over 1,000 students on their respective waitlists each year, admitting from
as few as only several students to as many as several hundred.

       ANSWER: Yale denies the allegations in this paragraph.



       140. With respect to Penn, for example, a former Penn admissions officer, Karen
Crowley, conceded in 2009 that although it is “not an official practice,” admissions officers give
preference to “full-paying student[s]” on the waitlist over those who need financial aid, especially
when “endowments are down and cost-cutting is essential.” “If a full-paying student says he’ll



                                                41
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 42 of 93 PageID #:4743




definitely come, letting him in can be a relief.” 31 On information and belief, Crowley’s concession
was reflective of Penn’s own admissions practices.

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       141. In May 2021, a college admissions consultant and former Associate Dean of
Admissions at Penn until June 2008, Sara Harberson, acknowledged: “When I worked as the
associate dean of admissions at the University of Pennsylvania, a need-blind institution, the office
was not forthright about the fact that needing financial aid kept a student from being considered or
admitted from the waitlist. Many need-blind universities are not open about their policies when it
comes to whom they admit off the waitlist.” 32

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        142. Vanderbilt, as a further example, has indicated being need-aware with respect to
waitlisted applicants through statements by its admissions officers. Vanderbilt has stated on its
website, for example, that it “reserve[s] the right to be need aware when admitting waitlisted
students.” 33 This concession was posted on April 13, 2018, by Kim Struglinski, who joined the
Vanderbilt office of undergraduate admissions in 2015 and thus was a Vanderbilt employee at the
time of the statement.

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       143. Vanderbilt has indicated it is need-aware for waitlisted applicants on other
occasions. In 2013, a Vanderbilt employee named Carolyn Pippen stated that “we do reserve the


31 Kathleen Kingsbury, Dirty Secrets of College Waitlists, THE DAILY BEAST (Mar. 30, 2009, updated July 14,

2017), https://www.thedailybeast.com/dirty-secrets-of-college-waitlists.
32 Sara Harberson, How Colleges Play the Waitlist Game, COURIER T IMES (May 17, 2021),

https://www.buckscountycouriertimes.com/story/opinion/2021/05/17/op-ed-how-colleges-play-waitlist-game-
students-detriment/5071470001/.
33 Kim Struglinski, Waitlist FAQ 2018, VANDERBILT UNIVERSITY UNDERGRADUATE ADMISSIONS (Apr. 13, 2018),

https://admissions.vanderbilt.edu/vandybloggers/2018/04/waitlist-faqs-2018/.


                                                         42
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 43 of 93 PageID #:4744




right to be need-aware when admitting waitlisted students.” 34 And in 2014, a Vanderbilt employee
named Jay Watson addressed whether Vanderbilt would be need-aware for waitlisted students that
year: “We do reserve the right to be need aware when admitting students from the wait list.” 35
Vanderbilt has never publicly stated, however, if in fact it has made need-aware decisions in
admitting students from the waitlist.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        144. Penn’s and Vanderbilt’s practices are representative of all the other Defendants’
practices with respect to the consideration of waitlisted applicants. On this basis alone, at each
Defendant school, each year, each Defendant has considered the financial circumstances of many
hundreds of students in deciding whether to put them on the waitlist and in deciding whether to
admit them from the waitlist. In failing to conduct need-blind admissions as to waitlisted
applicants, all Defendants fail to satisfy the requirements of the 568 Exemption, and thus are
subject to liability under the antitrust laws.

        ANSWER: Yale denies the allegations in this paragraph.



        145. All Defendants, on information and belief, have also considered the financial need
of transfer applicants in deciding whether to admit them, despite Section 568’s requirement that
“all students admitted” be admitted on a need-blind basis. Each Defendant receives at least
hundreds (and sometimes over a thousand) transfer applications each year, admitting from as few
as only several students to as many as several hundred.

        ANSWER: Yale denies the allegations in this paragraph.



        146. On this basis, at each school, each year, each Defendant has considered the financial
circumstances of many hundreds of students seeking to transfer to the school in deciding whether
to admit them. In failing to conduct need-blind admissions as to transfer applicants, no Defendant
qualifies for the 568 Exemption.

        ANSWER: Yale denies the allegations in this paragraph.


34 Carolyn Pippen, I’m On the Wait List – Now What, VANDERBILT UNIVERSITY UNDERGRADUATE ADMISSIONS

(Apr. 12, 2013), https://admissions.vanderbilt.edu/vandybloggers/2013/04/im-on-the-wait-list-now-what-2/.
35 Jay Watson, Vanderbilt Admissions AMA, VANDERBILT UNIVERSITY UNDERGRADUATE ADMISSIONS (Mar. 31,

2014), https://admissions.vanderbilt.edu/vandybloggers/2014/03/vanderbilt-admissions-ama/.


                                                       43
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 44 of 93 PageID #:4745




B.       Columbia Does Not Employ “Need-Blind” Admissions Policies in Deciding Whether
         to Admit Applicants to Its School of General Studies

       147. Columbia further engages in need-aware admissions practices that relate to
applicants to its School of General Studies, which is an undergraduate program of Columbia. The
School of General Studies is under the governance of Columbia’s President, Provost, Trustees,
and Faculty of Arts and Sciences, just like Columbia College and equivalent to the School of
Engineering and Applied Science. 36 This governance structure contrasts with Barnard College,
which is independent of, but affiliated with, Columbia. 37

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        148. Columbia’s School of General Studies offers an undergraduate degree program for
“nontraditional students” who have had a break of a year or more in their studies and for dual- or
joint-degree students, who split their time as students between Columbia and other institutions,
such as Sciences Po in Paris and Trinity College Dublin. 38 Students in the School of General
Studies take the same courses with the same faculty and undertake the same majors as other
undergraduates at Columbia. They receive a diploma from Columbia like other undergraduates.

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       149. According to Columbia’s website, the School of General Studies comprises more
than 2,500 undergraduate students, which is approximately 30% of Columbia’s undergraduate




36 Compare COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK, CHARTERS AND STATUTES (2017), art. XXII

(Faculty of General Studies), with art. XI (Columbia College), art. XIV (Faculty of Engineering and Applied
Science).
37 See id., art. XXIII.


38 Columbia School of General Studies, Dual and Joint Degree Programs, https://gs.columbia.edu/ content/dual-

and-joint-degree-programs.


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  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 45 of 93 PageID #:4746




student population. 39 In addition, 68% of undergraduates enrolled in the School of General Studies
take classes on a full-time basis. 40

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        150. Columbia conceded that “General Studies admissions are not need-blind.” 41 In fact,
Columbia has used General Studies to generate revenue that supports other university initiatives,
like campus expansions and new scientific research centers. Columbia’s Faculty of Arts Sciences
pays a nine-figure “common-cost tax” to the university. 42 But General Studies recruits and enrolls
a less wealthy, more socioeconomically diverse student body than Columbia’s other undergraduate
programs. 43 The burden of supporting Columbia’s preservation of prestige and financial
accumulation therefore falls on those who can least afford it.

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       151. Accordingly, in failing to conduct need-blind admissions as to applicants for the
School of General Studies, Columbia does not qualify for the 568 Exemption.

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.




39 Columbia University, Fall Headcount Enrollment by School, 2010-2019 (Jan. 13, 2020),

https://opir.columbia.edu/sites/default/files/content/Statistical%20Abstract/opir_enrollment_history.pdf.
40 Columbia School of General Studies, Statistics and Facts, https://gs.columbia.edu/content/ statistics-and-facts.


41 Eli Lee, Public Health Professor Lisa Rosen-Metsch Appointed Dean of General Studies, COLUMBIA SPECTATOR

(Nov. 14, 2017), https://www.columbiaspectator.com/news/2017/11/14/public-health-professor-lisa-rosen-metsch-
appointed-dean-of-general-studies/.
42 Michael Ouimette, Unfunded Mandate: Columbia College, Arts and Sciences, and the Bollinger Era, COLUMBIA

SPECTATOR (May 5, 2016), https://www.columbiaspectator.com/lead/2016/05/05/ unfunded-mandate-columbia-
college-arts-and-sciences-and-bollinger-era/.
43 Jessica Spitz, At a crossroads; The future of GS, COLUMBIA SPECTATOR (Apr. 20, 2017),

https://www.columbiaspectator.com/news/2017/04/20/at-a-crossroads-the-future-of-gs/ (“[T]he population skews
older and many are juggling jobs, raising families, and often do not have parents to rely on for tuition money.”).


                                                         45
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 46 of 93 PageID #:4747




        152. In sum, during the period of the conspiracy alleged herein, all Defendants have
considered the financial need of waitlisted and transfer applicants, and Columbia has considered
the financial need of students applying to the School of General Studies, in deciding whether to
admit such students to attend their undergraduate programs on a full-time basis. This conduct
extinguishes the 568 Exemption for all members of the 568 Cartel.

        ANSWER: Yale denies the allegations in this paragraph.



       153. In addition, if any Defendant has not considered the financial circumstances of
applicants or their families in making admissions decisions, the fact that other Defendants have
done so—and thus that the Cartel includes non-exempt schools with whom otherwise
hypothetically compliant schools collude—extinguishes the 568 Exemption for all members of the
568 Cartel. Quite simply, no school was entitled to protection under the Exemption if it colluded
with any non-need-blind schools.

        ANSWER: The allegations contained in this paragraph contain legal conclusions to which

no response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



C.      Emory Does Not Employ “Need-Blind” Admissions Policies in Deciding Whether to
        Admit Applicants to Oxford College

         154. Oxford College is an undergraduate division of Emory University, exclusively for
first- and second-year students.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       155. Oxford College is openly need aware. The Emory University News Center stated
in 2013: “[D]ue to the combination of internal and external financial pressures, Oxford College
implemented a need-sensitive framework in admitting and shaping part of its freshman class.” 44




44 Beverly Clark, Commitment to Excellence Guides Financial Aid, EMORY NEWS CENTER (Jan. 17, 2013),

https://news.emory.edu/stories/2013/01/er_financial_aid/campus.html.


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  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 47 of 93 PageID #:4748




          ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



D.        Certain Defendants’ Enrollment Management Practices Are Not “Need-Blind”

       156. Among Defendants, at least Dartmouth, Columbia, Northwestern, Notre Dame, and
Penn engage in need-aware admissions through “enrollment management.”

          ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        157. Enrollment management is “the systematic integration of the functions of
admissions, the relationship between tuition and fees (pricing) and financial aid, and student
retention, along with the use of research to inform institutional policies and practices.” 45 It is a
“managerial paradigm” that brings together admissions and other institutional functions “into a
comprehensive institutional approach designed to enable college and university administrators to
exert greater influence over the factors that shape their enrollments.” 46

          ANSWER: Yale admits that the quoted language in this paragraph purport to describe

information from a book entitled, “Handbook of Strategic Enrollment Management.” Yale lacks

sufficient knowledge to admit or deny the allegations in this paragraph.



        158. One of the key purposes of enrollment management is to limit the number of
financial-aid-eligible applicants who are admitted to the institution to achieve financial and
budgetary objectives. The effect of these practices is to disadvantage applicants based on their
need for institutional financial aid.

          ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



45 Don Hossler, Origins of Strategic Enrollment Management, in HANDBOOK OF STRATEGIC ENROLLMENT

MANAGEMENT 5 (Don Hossler and Bob Bontrager, eds., 2014).
46 Id. at 4, 7-8.




                                                   47
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 48 of 93 PageID #:4749




        159. Econometric modeling is central to enrollment management. As explained by
Stephen Brooks, a higher-education consultant whose client list includes Columbia and Penn, 47
models draw on standard elements of college applications—academic ability, geography,
demographics, interests, whether the student has requested aid, and more—to assess an applicant’s
likelihood of enrolling if offered admission. 48 These yield models, in turn, permit schools to
forecast the revenue and cost implications of their admissions and financial-aid decisions. 49

        ANSWER: Yale admits that the allegations in this paragraph purport to describe

information from several publications. Yale lacks sufficient knowledge to admit or deny the

allegations in this paragraph.



         160. One anonymous enrollment manager has said: “Good luck getting any institution
to tell you exactly how they handle ability to pay as a driver in their admit decision. . . . What they
will say is ‘We’re need blind.’ That’s bullshit. They would never tell you exactly how they do it,
but they do it all the time.” 50

        ANSWER: Yale lacks sufficient knowledge to know whether an anonymous enrollment

manager made the quoted statements and whether any such statements relate to any Defendant in

this case and therefore denies the allegations in this paragraph.



       161. Indeed, these institutions know their practices are legally problematic, and thus they
maintain a shroud of secrecy over them. For instance, author Jeff Selingo asked two dozen colleges
or universities for access to their admissions practices. Nearly all refused, some because they were
“worried about exposing how they shaped their class based on the financial need of applicants.” 51

47 Our Clients, SHBrooks, https://www.shbrooks.com/clients.


48 Stephen H. Brooks, Using Campus-Based Financial Aid Strategically, in HANDBOOK OF STRATEGIC

ENROLLMENT MANAGEMENT 223-26 (Don Hossler and Bob Bontrager, eds., 2014); Stephen H. Brooks,
Econometric Modeling of Enrollment Behavior, 26 J. Student Fin. Aid 7, 9-10 (1996).
49 Brooks, Using Campus-Based Financial Aid Strategically, at 226; Brooks, Econometric Modeling of Enrollment

Behavior, at 16-17.
50 Matthew Quirk, The Best Class Money Can Buy, THE ATLANTIC (Nov. 2005)

https://www.theatlantic.com/magazine/archive/2005/11/the-best-class-money-can-buy/304307/.
51 Jeffrey Selingo, Who Gets In and Why: A Year Inside College Admissions 13 (2020).




                                                      48
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 49 of 93 PageID #:4750




Selingo also wrote: “Even at need-blind schools, admission eventually can come down to money.
Those colleges control how much they spend on financial aid by recruiting heavily in rich high
schools and admitting in early decision a significant proportion of students who tend to be
wealthier. And even when schools are need-blind, admissions officers still see the zip codes and
the occupations of parents when reviewing applications.” 52

          ANSWER: Yale denies the allegations in the first sentence of this paragraph to the extent

they purport to apply to Yale. Yale lacks sufficient knowledge to admit or deny the remaining

allegations in this paragraph.



        162. In 2015, Dartmouth created the position of Vice Provost for Enrollment
Management, announcing that it would permit the university “to use a wealth of newly available
data to identify and recruit prospective students.” 53 In 2016, Dartmouth announced its hiring of
Lee Coffin from Tufts University, a need-aware school. 54 At Tufts, Coffin operated under strict
budgetary limits. 55 He shaped the cohort of admitted students to bring revenues and costs in line.
His admissions office sent tentative acceptances to the financial-aid office, which modeled the
revenue and cost implications so that the admissions office would meet the university’s budgetary
goals. As Coffin has acknowledged, “Shifting things at the end . . . happens every year.” 56

          ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       163. The President of Northwestern since 2009, Morton Schapiro, has been described as
“a dean of ‘enrollment management,’ the art of shaping an incoming class through recruitment,




52 Id. at 212.


53 Dartmouth University, Office of Communication, Search Has Begun for Undergraduate Admissions Leader (Oct.

29, 2015), https://news.dartmouth.edu/news/2015/10/search-has-begun-undergraduate-admissions-leader.
54 Bill Platt, Lee Coffin to Lead Enrollment, Admissions, and Financial Aid, DARTMOUTH NEWS (Feb. 4, 2016),

https://news.dartmouth.edu/news/2016/02/lee-coffin-lead-enrollment-admissions-and-financial-aid.
55 Carly Olson, Crunching the Numbers, TUFTS OBSERVER (Apr. 25, 2016), https://tuftsobserver.org /crunching-the-

numbers/ (“My responsibility as Dean is that I can’t spend more dollars than Tufts has. They give me a checkbook
every year and they say spend all of it, but don’t spend more than that.”); see also id. (“This year, Coffin said
admissions had $19.7 million and 1,325 spots to consider when making their decisions.”).
56 Id.




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  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 50 of 93 PageID #:4751




aid, early admission, waiting lists and other variables.” 57 During President Schapiro’s tenure, at
least, Northwestern has employed enrollment management.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        164. Notre Dame also employs an “enrollment management model.” 58 Announcing in
2010 the hire of its associate vice-president for undergraduate enrollment, Don Bishop, Notre
Dame praised his “innovative marketing and financial aid strategies” in prior enrollment-
management jobs. 59 Announcing a new Dean of Admissions in 2019, Notre Dame touted her status
as “a featured presenter at national enrollment management conferences and events.” 60 In addition,
Notre Dame has a partnership with a software company that develops data-visualization tools,
touting “improved scenario analyses on all data associated with an applicant or prospective
enrollee.” 61 Notre Dame is thus using data analysis to shape need-aware admissions decisions.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        165. Columbia’s, Dartmouth’s, Northwestern’s, Notre Dame’s, and Penn’s use of
enrollment management thus involves the resolution of admissions decisions with regard to the
financial circumstances of the applicant or their family, in that such management (i) identifies
relatively wealthy students, for the benefits (direct and indirect) that the school expects from their




57 Daniel de Vise, Northwestern now a first choice to many, its president says, THE WASHINGTON POST (Apr. 14,

2011), https://www.washingtonpost.com/blogs/college-inc/post/schapiro-northwestern-now-a-first-choice-to-
many/2011/04/13/AFSXTacD_blog.html.
58 Jordan Cockrum and Natalie Weber, Notre Dame, SMC communities evaluate opportunities, efforts for low

socioeconomic students, THE OBSERVER (Apr. 30, 2018), https://ndsmcobserver.com /2018/04/efforts-low-
socioeconomic-students/.
59 Dennis Brown, Notre Dame alumnus Bishop appointed associate VP for undergraduate enrollment, NOTRE DAME

NEWS (Sept. 15, 2010), https://news.nd.edu/news/notre-dame-alumnus-bishop-appointed-associate-vp-for-
undergraduate-enrollment/.
60 Joyce Lance, Christy Pratt appointed director of admissions, NOTRE DAME NEWS (July 1, 2019),

https://news.nd.edu/news/christy-pratt-appointed-director-of-admissions/.
61 Leila Meyer, U Notre Dame, SynGlyphX Partner on Enrollment Data Visualization Tool, CAMPUS TECH. (Jan. 13,

2016), https://campustechnology.com/articles/2016/01/13/u-notre-dame-synglyphx-partner-on-enrollment-data-
visualization-tool.aspx?admgarea=news.


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 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 51 of 93 PageID #:4752




admission, and (ii) identifies relatively less wealthy students in order to limit the total amount of
financial aid—and then acts upon that information to meet budgetary goals.

       ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



E.     Defendants Consider Family Financial Circumstances in Giving Preference to the
       Children of Wealthy Past or Potential Donors, and Thus Do Not Adhere to a Need-
       Blind Admissions Policy

        166. Defendants consider applicants’ “financial circumstances” through admissions
preferences given to the children of wealthy past or potential donors, such that their chances of
admission increase significantly. Such Defendants understand that these applicants—commonly
known as “development cases” or “development admits”—have no need for financial aid and that
their admission could generate a substantial financial return for the university.

       ANSWER: Yale denies the allegations in this paragraph to the extent they purport to apply

to Yale. Yale lacks sufficient knowledge to admit or deny the allegations as they relate to the other

Defendants in this paragraph.



        167. Consequently, the development offices of such Defendants analyze and monitor
these applicants and coordinate with the university presidents or admissions offices during the
admissions cycle. In short, awarding special treatment to the children of wealthy prior and potential
donors necessarily means some less privileged applicants are not admitted on account of their
financial circumstances to make room for the wealthy.

       ANSWER: Yale denies the allegations in this paragraph to the extent they purport to apply

to Yale. Yale lacks sufficient knowledge to admit or deny the allegations as they relate to the other

Defendants in this paragraph.



       168. Defendants also consider large donations, and even financial capacity in the
absence of any donation history, as plus factors for admission. Assessing potential donations of an
applicant’s family necessarily involves considering the income, assets, and other financial
circumstances of that family. Similarly, considering a family’s past donations, pursuant to the
agreement of the 568 Cartel, constitutes the consideration of family financial circumstances.


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 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 52 of 93 PageID #:4753




       ANSWER: Yale denies the allegations in this paragraph to the extent they purport to apply

to Yale. Yale lacks sufficient knowledge to admit or deny the allegations as they relate to the other

Defendants in this paragraph.



        169. In considering the wealth and donation history of certain students and their families,
moreover, such Defendants implicitly consider less privileged applicants’ lack thereof. Because of
the limited number of spots available in any given class, the advantage given to one group entails
a disadvantage imposed on the other. Privileging the wealthy and disadvantaging the financially
needy are inextricably linked; they are two sides of the same coin.

       ANSWER: Yale denies the allegations in this paragraph to the extent they purport to apply

to Yale. Yale lacks sufficient knowledge to admit or deny the allegations as they relate to the other

Defendants in this paragraph.



       170. In addition, such Defendants are committed to maintaining admissions as a zero-
sum game, by limiting growth in the number of undergraduate seats to maximize perceptions of
exclusivity and prestige. Defendants’ presidents and senior admissions and development officers
know that the other Defendants routinely favor children from wealthy families and thereby fail to
admit all students without regard to their financial circumstances or that of their families.

       ANSWER: Yale denies the allegations in this paragraph to the extent they purport to apply

to Yale. Yale lacks sufficient knowledge to admit or deny the allegations as they relate to the other

Defendants in this paragraph.



        171. Darrell M. West, a professor at Brown from 2000-2008, has stated: “When I taught
at Brown, I periodically was asked to meet with children of the rich and famous who were seeking
admission to the university. I did so and wrote letters to the admissions office giving my
impressions of the applicant. The university claims there was no pressure to admit well-connected
individuals, but it was clear to me Brown thrived on its reputation as a ‘hot Ivy’ that had lots of
prominent students there. It admitted many well-deserving and talented students, but many on the
faculty recognized the university’s interest in having children of prominent individuals on campus
because it generated publicity for Brown and sometimes paid off down the road in financial
contributions to the university. Looking back on these experiences, I can see that wealthy students



                                                 52
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 53 of 93 PageID #:4754




had admissions advantages over the average applicant because the latter were not getting one-on-
one meetings with faculty members or special consideration by the admissions office.” 62

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



         172. A former Dean of Admissions at Dartmouth, Maria Laskaris, said in 2019: “The
ultra-rich have an additional advantage in their ability to donate large sums of money to
universities, which can boost their kids’ chances of acceptance.” According to Laskaris,
admissions officers are “made aware of” this factor because “colleges are always in fundraising
mode.” 63 At Dartmouth, development officers meet with admissions staff to review a list created
by the development office. Each year, up to 50 applicants may be considered through this special
process, most of whom are admitted, accounting for 4-5% of Dartmouth’s student body. 64

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        173. An email exchange exposed by the Sony hack in 2014 illustrates Dartmouth’s
efforts to evaluate and court wealthy potential donors. 65 Michael Lynton, CEO of Sony Pictures
Entertainment, intended to visit Dartmouth with his daughter, a prospective student. Michael
Lynton is not an alumnus of Dartmouth, and public records have not shown that Lynton had
previously donated to Dartmouth. On the eve of his visit, Lynton received a solicitous email from
Jeff Sassorossi, a 1975 Dartmouth graduate and then Dartmouth’s “Director, Special Projects &
Reporting.” Sassorossi explained that his role at Dartmouth was “to serve as the liaison between
the Advancement (Alumni Relations and Development) and Admissions. As such, I work with
families as they go through the admissions process at Dartmouth.” Sassorossi offered Lynton and
his daughter a personal tour of the campus. Sassorossi’s email also indicated that Lynton was being


62 Scott Jaschik, Advantages for Legacies and Wealthy at Brown, INSIDER HIGHER ED (Mar. 25, 2019),

https://www.insidehighered.com/admissions/article/2019/03/25/brown-faces-questions-about-benefits-it-has-
provided-legacy-applicants.
63 Jill Tucker, In the College Admissions Game, Even the Legal Kind, Money Has Always Mattered, SAN FRANCISCO

CHRON. (Mar. 12, 2019), https://www.sfchronicle.com/bayarea/article/In-the-college-admissions-game-even-the-
legal-13683518.php.
64 Joseph Asch, Donor Admissions: How It Works Now, DARTBLOG (Sept. 29, 2014),

http://www.dartblog.com/data/2014/09/011686.php.
65 See Joseph Asch, VIP Donor Preferences Cont’d, DARTBLOG (Feb. 4, 2016),

http://www.dartblog.com/data/2016/02/012467.php; Email from Jeff T. Sassorossi to Michael Lynton, Re:
Dartmouth College Visit (Mar. 28. 2014), https://wikileaks.org/sony/emails/emailid/132718.


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  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 54 of 93 PageID #:4755




recruited to Dartmouth by Leon Black, a billionaire private equity investor, major Dartmouth
benefactor, and former trustee. 66

          ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



         174. Despite these entreaties, Lynton’s daughter enrolled at Brown, which got the $1
million donation from Lynton instead of Dartmouth. 67 The opinion editor for the Brown Daily
Herald described Lynton’s gift to Brown as “a $1 million check to Brown with more strings
attached than the Los Angeles Philharmonic. Anyone with a pulse can trace the probable outcome
of this ‘philanthropy’—a prospective student connected to Lynton gets accepted to Brown!” 68

          ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       175. According to journalist Daniel Golden’s book The Price of Admission, Defendant
Duke “enrolled thousands of privileged but underqualified applicants with no prior ties to the
university in the expectation of parental payback.” 69 According to Golden, Duke “accepted at least
one hundred nonalumni children each year due to family wealth.” 70 In some years, between 3-5%
of Duke’s student body consists of students “who would have been turned away without pressure
from the development office.” 71

          ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.


66 See Peter Lattman, Apollo’s Leon Black Donates $48 Million to Dartmouth, N.Y. TIMES DEALBOOK (Mar. 29,

2012), https://dealbook.nytimes.com/2012/03/29/apollos-leon-black-donates-48-million-to-dartmouth; Office of
Communications, Dartmouth University, Dartmouth Board Elects Three New Charter Trustees, DARTMOUTH NEWS
(June 13, 2011) (announcing Black was stepping down after two terms as trustee),
https://news.dartmouth.edu/news/2011/06/dartmouth-board-elects-three-new-charter-trustees.
67 Chad Simon, Simon ‘16: Pimp My University, BROWN DAILY HERALD (Oct. 21, 2015),

https://www.browndailyherald.com/2015/10/21/simon-16-pimp-my-university/.
68 Id.


69 Daniel Golden, THE PRICE OF ADMISSION 54 (2006).


70 Id.


71 Id. at 57.




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  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 55 of 93 PageID #:4756




         176. While serving as president of Duke, Richard Brodhead admitted that “it would be
naïve to say that any university should pay no attention to a family’s ability to help the university,”
explaining that a family’s ability to donate to Duke was a “plus factor” in admissions.” 72 A former
Director of Undergraduate Admissions at Duke, Jean Scott, estimated that “a couple of hundred”
applicants a year received special attention as children of prospective donors. Scott admitted that
there “were certainly students who got in because they were a high priority” for fundraising. Scott
also said that there “was more of this [fundraising-related] input at Duke than at any other
institution I ever worked for.” 73

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        177. The longstanding Dean of Admissions for Georgetown, Charles Deacon, was asked
by a reporter: “What about children of alumni and potential donors?” (Emphasis added.) In
response, Dean Deacon candidly admitted: “On the fundraising side, we also have a small number
of ‘development potential’ candidates. If Bill Gates wants his kid to come to Georgetown, we’d
be more than happy to have him come and talk to us.” (Emphasis added.) Dean Deacon continued
to point out that “not all those special cases end up being people who give a lot of money. We have
children of Supreme Court justices, senators, and so on apply. We may give extra consideration to
them because of the opportunities that may bring.” 74

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        178. In short, Georgetown admits a range of students based on their families’ wealth,
prestige, and influence. Some of these students are given “extra consideration” based on their
parents’ influence or political power, without any expectation of a financial contribution. On the
other hand, some are given “extra consideration” on the basis of their “development potential”—
namely, the ability of the family to make a financial contribution to the institution, and the
likelihood that it will do so.

72 Geoffrey Mock, Brodhead Discusses Early Admissions, Developmental Admits, DUKE TODAY (Sept. 22, 2006),

https://today.duke.edu/2006/09/admit.html.
73 Daniel Golden, How Lowering the Bar Helps Colleges Prosper, WALL ST. J. (Sept. 9, 2006),

https://www.wsj.com/articles/SB115774251817757837.
74 Alvin P. Sanoff, Getting in to Top Schools, WASHINGTONIAN (Oct. 1, 2007),

https://www.washingtonian.com/2007/10/01/getting-in-to-top-schools/.


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  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 56 of 93 PageID #:4757




         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



          179. Indeed, Dean Deacon has also candidly admitted that Georgetown favors past
donors, as well as potential donors, and has even admitted that Georgetown calibrates the extent
of the admissions advantage to the size of the donation: “If you were very close to the edge and
the family’s given to the annual fund every year or something, that might be enough of a tip to get
you in. If you’re a little farther from the edge, but the family has built Regents Hall, that might tip
a little farther.” 75

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        180. A former Director of Selection at MIT, McGreggor Crowley, admitted in March
2019: “In truth, for every office of admissions there is a development office that builds a
university’s endowment through donations from alumni and wealthy individuals. And every year,
regardless of what a college or university says publicly, a number of children of wealthy donors
and alumni get a nod in their direction while other applicants are rejected.” 76 In an interview with
NBC News, Crowley admitted that “as for the children of prominent campus donors, . . . a college’s
development office might reach out to the dean of admissions to say, ‘Hey, just so you know,
Lisa’s dad has been very generous to us in the past, or something.’” NBC News reported that
according to Crowley: “Usually, that kind of information [about a family’s financial contribution]
is relayed to the most senior officials in an admissions office.” 77

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.




75 Suzanne Monyak, Legacy Status Tips Admission, THE HOYA (Mar. 20, 2015), https://thehoya.com/legacy-status-

tips-admission-scales/.
76 McGreggor Crowley, Confessions of a Former MIT Admissions Director, BOSTON GLOBE (Mar. 13, 2019),

https://www.bostonglobe.com/opinion/editorials/2019/03/13/confessions-former-admissions-
director/qPQppf0AhpJIbIJ8mZ6q9L/story.html.
77 Daniel Arkin, The College Admissions Scandal is Just the Extreme Version of a System that Already Favors the

Wealthy, NBC, https://www.nbcnews.com/news/us-news/college-cheating-scandal-two-ex-admissions-officers-
explain-behind-scenes-n983796.


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  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 57 of 93 PageID #:4758




        181. At Northwestern, a separate admissions process exists for the wealthy and well
connected. On April 24, 2019, The Daily Northwestern published an article with the headline:
“Northwestern President Schapiro Says He Reads Applications of Some Legacy, Donor Students.”
As revealed in the article, in the 2018-19 admissions cycle, Schapiro personally reviewed the
applications of about 550 students, including applications associated with wealthy donors. A
Northwestern spokeswoman has further admitted that President Schapiro was “frequently involved
in dealing with principal donors to the University.” 78

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



         182. One of the student reporters who broke the story about Northwestern’s two-track
admissions system later stated in a podcast interview: “[President Schapiro] also told us that he
tries to work with the Dean of Admissions Christopher Watson, as much as he can. He brought up
an example that if they both disagreed on an applicant that they try to work it out.” 79 President
Schapiro is the boss at Northwestern, and the Dean of Admissions reports to him. The head of the
university is using his discretion to make or influence numerous admissions decisions. Schapiro’s
involvement in admissions decisions for applicants associated with wealthy donors was not public
until revealed by reporting in 2019.

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       183. The Director of Admissions at Notre Dame for thirty-six years until his retirement
in July 2019, Bob Mundy, made appearances at alumni gatherings during his tenure in office.
Mundy’s biography at these appearances stated: “In his current position as Director of Admissions
Operations, he oversees the 35 members of staff, and recruitment efforts that have included as
many as 40,000 annual inquiries and a record-setting 16,500 applications for the 2011 class.
Ultimately, the office is responsible for ‘delivering’ a freshmen class of approximately 2,000
students, while also satisfying the needs of various constituencies: i.e. alumni, athletics, the
Development Office, etc.” (Emphasis added.)


78 Alan Perez and Gabby Birenbaum, Northwestern President Schapiro Says He Reads Applications of Some

Legacy, Donor Students, THE DAILY NORTHWESTERN (Apr. 24, 2019),
https://dailynorthwestern.com/2019/04/24/campus/northwestern-president-schapiro-says-he-reads-applications-of-
some-legacy-donor-students/?print=true.
79 Cassidy Jackson and Heena Srivastava, The Weekly: University President Morton Schapiro Reveals Role in

Admissions Process, THE DAILY NORTHWESTERN (May 3, 2019),
https://dailynorthwestern.com/2019/05/03/multimedia/audio/the-weekly-university-president-morton-schapiro-
reveals-role-in-admissions-process/.


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  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 58 of 93 PageID #:4759




        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       184. The current Associate Vice Provost for Undergraduate Enrollment at Notre Dame,
Don Bishop, acknowledged the significant influence that donations play in the Notre Dame
admissions process. Indeed, he admitted that if someone gave $15 million, then their children
would be given “some special interest” during the Notre Dame admissions process. 80

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



         185. Penn also tracks past and potential donors, rewarding past donors and enticing
potential donors by admitting their children. A former Associate Dean of Admissions, Sara
Harberson, has described the university’s use of “tags” to track applicants that are “a high priority
for the institution.” Penn tags the applications of “children of donors or potential donors,” among
others, giving those applicants “the proverbial golden ticket.” 81 The university has “spots reserved”
for these “development cases,” whose “parents have already given significant money to the
institution, or plan to.” 82

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       186. A past Chancellor of Vanderbilt, E. Gordon Gee, stated in 2019 that any president
under “truth serum” would concede that donor connections make a difference in admissions. 83


80 Daniel Golden, How Wealthy Families Manipulate Admissions at Elite Universities, TOWN & COUNTRY (Nov. 21,

2016), https://www.townandcountrymag.com/society/money-and-power/news/ a8718/daniel-golden-college-
admission/.
81 Sarah Harberson, The Truth about ‘Holistic” College Admissions, LOS ANGELES TIMES (June 9, 2015),

https://www.latimes.com/opinion/op-ed/la-oe-harberson-asian-american-admission-rates-20150609-story.html.
82 Vice News, How Broken the College Admissions Process Is, YOUTUBE (Mar. 13, 2019) (Harberson quoted at

5:20), https://www.youtube.com/watch?v=0v5yHnWCiLE&feature=emb_logo.
83 Jack Stripling, It’s an Aristocracy: What the Admissions-Bribery Scandal Has Exposed About Class on Campus,

THE CHRONICLE OF HIGHER EDUCATION (Apr. 17, 2019), https://www.chronicle.com /article/its-an-aristocracy-
what-the-admissions-bribery-scandal-has-exposed-about-class-on-
campus/?cid2=gen_login_refresh&cid=gen_sign_in.


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 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 59 of 93 PageID #:4760




       ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        187. Certain universities may independently choose to favor the children of the wealthy
if they like, thereby disfavoring every other applicant. But if they make that choice, they cannot
lawfully conspire on financial-aid policies. The law does not allow them to do both. Defendants
must choose between continuing their wealth favoritism and need-aware admissions practices, on
the one hand, and participation in the lucrative 568 Cartel, on the other.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



F.     The Section 568 Exemption Applies Only to a Group of Schools That All Employ
       “Need-Blind” Admissions Policies Within the Term’s Statutory Meaning

        188. The 568 Exemption, as noted, precludes any school invoking it from taking account
of “the financial circumstances” of a student or their family in making admissions decisions. Under
the well-established rules of statutory construction, any contrary interpretation of the text of the
568 Exemption would be impermissible speculation as to Congress’s intent—in particular, where
any antitrust exemption is construed narrowly (with what courts have described as “beady eyes
and green eyeshades”). Just as fundamental, the evidence of the purpose and overarching goal of
the 568 Exemption, as reflected in its legislative history, compels this interpretation of the plain
meaning of “need-blind” as defined in the statute.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



        189. The 568 Exemption replaced what had been a general temporary antitrust
exemption. The 1994 legislative history of the enactment of Section 568 explains in relevant part:
“This provision extends for an additional three years the temporary antitrust exemption for certain
collegiate financial aid award analysis, which was originally enacted with the Higher Education
Amendments of 1992 as a two-year exemption.” H.R. Conf. Rep. 103-761, 911-12, 1994
U.S.C.C.A.N. 2901, 3242-43. This report explained that, as noted above, Section 568 is modeled
on the MIT-DOJ settlement: “The temporary exemption has also been revised in light of the

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 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 60 of 93 PageID #:4761




‘standards of conduct’ adopted as part of the settlement of the antitrust action between the
Department of Justice and Massachusetts Institute of Technology in the case of United States v.
Brown University, et al., Civ. Action No. 91-3274 (E.D. Pa.), on December 22, 1993.” Id.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



         190. The referenced “standards of conduct” provided in relevant part: “Non-profit
institutions of higher education may participate in the cooperative financial aid arrangements set
forth below (‘Participating Schools’), provided that they practice need-blind admissions; that is,
admit all United States citizens to its undergraduate programs without regard to family financial
circumstances, other than admitted from a wait list.” This legislative history thus makes clear that
Section 568’s language tracks the language in the “standards of conduct” precluding admissions
with regard to “family financial circumstances.”

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



         191. This legislative history further states that the 568 Exemption “applies only to
institutions of higher education that admit students on a need-blind basis. The definition of ‘on a
need-blind basis’ in subsection (c)(6) is based on language in the ‘standards of conduct’ adopted
in the MIT settlement. However, a conspicuous difference between the statutory language and the
MIT standards of conduct is that the statute deletes the phrase ‘other than admitted from a wait
list.’ See also United States v. Brown University, 5 F.3d 658 (1993).” H.R. Conf. Rep. 103-761,
911-12, 1994 U.S.C.C.A.N. 2901, 3242-43. This conference report further states:

       The managers have decided against elaborating on the need-blind admissions
       standard in the statutory text. As should be obvious, however, evidence of a practice
       among admissions personnel at an institution of higher education of examining,
       discussing, or otherwise considering information relating to a student’s financial
       circumstances that is derived from such student’s financial aid application form, or
       from any other document or record obtained for the purpose of ascertaining such
       financial circumstances, before the decision is made regarding the student’s
       admission will substantially increase the institution’s burden of demonstrating that
       the school’s admissions policy is truly need-blind.



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 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 61 of 93 PageID #:4762




Id. (emphasis added). The report then specifies: “Prudence would counsel that schools wishing to
make use of this provision insulate their admissions, process and admissions personnel as
completely as possible from such student financial aid information, until after the admissions
process is complete.” Id. (emphasis added). Consistent with the statute, no exception is made for
applicants on the institution’s waitlists.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



        192. This aspect of the legislative history thus reflects Congress’s intent that a “truly
need-blind” admissions policy would not permit a school invoking the 568 Exemption to use the
information that the 568 Cartel has used and continues to use to consider the financial
circumstances of an applicant’s family for admissions purposes—including (i) the common
application (which asks questions about the parents’ occupation for the purpose, at least in part, of
ascertaining the financial circumstances of the applicant and their family); (ii) emails between
development and admissions, as well as any “tags” that admissions uses to flag development
prospects, obtained for the purpose of ascertaining the financial circumstances of the applicant and
their family; (iii) any documents that admissions receives identifying one or both parents as donors,
or regarding donation history, or identifying one or both parents as alumni; and (iv) the information
integral to enrollment management.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



        193. The 2001 legislative history to the renewal of the 568 Exemption further confirms
the following congressional goal and purpose: “No student who is otherwise qualified ought to be
denied the opportunity to go to one of the nation’s most prestigious schools because of the financial
situation of his or her family.” Report to Accompany H.R. 768, House of the Judiciary, Need-Based
Educational Aid Act of 2001 (Apr. 3, 2001). An admissions policy that admits certain students
based on their wealth, in a zero-sum admissions arrangement, necessarily denies admission to at
least some students “because of the financial situation of his or her family.”

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.

                                                 61
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 62 of 93 PageID #:4763




        194. In a separate part of the 2001 legislative history, Representative Barney Frank, one
of the sponsors of the legislation, referenced that it arose out of litigation regarding the Overlap
Group (discussed above), and a practice in which “these schools strive to achieve what they call a
needs-based admission policy,” and “what it meant was that they strove to admit young men and
women based on their ability to do the work of that school.” Statement of Barney Frank,
Need-Based Educational Aid Act of 2001, 147 Cong. Rec. H1360-02, 2001 WL 321629 (Apr. 3,
2001) (emphasis added). An admissions policy that admits certain students based on their wealth
as a relevant factor does not admit those students “based on their ability to do the work of that
school.”

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



        195. In sum, the scope of the 568 Exemption was rooted in the plain language of the
statutory text, and in the statute’s legislative history, which shows that the statute’s plain text
furthers the statute’s purposes.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



                                               VIII.

      DEFENDANTS’ CONTINUING VIOLATIONS OF THE ANTITRUST LAWS,
         AND THE ACCRUAL OF PLAINTIFFS’ CLAIMS THEREUNDER

A.     Defendants’ Continuing Violations of the Antitrust Laws

        196. Defendants’ violations of the Sherman Act occurred each time any Defendant
engaged in conduct in furtherance of the 568 Cartel that harmed Plaintiffs and other Class
Members. In the context of Defendants’ price-fixing conspiracy, such conduct and violations
occurred each time Defendants have exchanged private or confidential information about
admissions and/or financial aid, or met to fine-tune their Cartel agreement, and upon each
transaction with any Class Member at an artificially inflated net price of attendance.

       ANSWER: Yale denies the allegations in this paragraph.

                                                62
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 63 of 93 PageID #:4764




       197. Defendants have engaged in continuing violations of the Sherman Act. The 568
Cartel has met at least annually since 2003 to discuss and fine-tune their Cartel agreement, and
Class Members have paid artificially high net prices to attend Defendants’ schools since that time
and continuing through the present as a result of the conduct alleged herein. 84

         ANSWER: Yale denies the allegations in this paragraph.



B.       The Accrual of Plaintiffs’ Claims Under the Discovery Rule

        198. Until the last two years, Plaintiffs in fact did not know (a) the extent to which
Defendants had failed to admit all successful applicants without regard to the financial
circumstances of the student or the student’s family, in violation of the 568 Exemption, or (b) that
Defendants’ use of the Consensus Methodology has disadvantaged and in fact caused financial
injury to the Class Members.

         ANSWER: Yale denies the allegations in this paragraph.



        199. Until the last two years, moreover, a person exercising reasonable diligence could
not have discovered (a) the extent to which Defendants had failed to admit all successful applicants
without regard to the financial circumstances of the student or the student’s family, in violation of
the 568 Exemption, or (b) that Defendants’ use of the Consensus Methodology has disadvantaged
and in fact caused financial injury to the Class Members.

         ANSWER: Yale denies the allegations in this paragraph.



        200. In commenting on the larger implications of Plaintiffs’ claims, for example, the
editorial board of Emory’s student newspaper candidly observed: “Financial aid is confusing
enough without elite universities colluding to shirk students out of necessary assistance.” 85



84 In terms of formal membership, as noted above, Brown and Emory claim to have stopped active participation in

the 568 Cartel in 2012; Chicago claims to have stopped active participation in 2014; and Penn and Vanderbilt
claimed to have stopped active participation it in 2020. Some institutions have attended meetings of the 568 Cartel
and exchanged information with the Cartel without being formal members, including certain institutions that never
formally joined. (Plaintiffs reserve the right to name such institutions as defendants based on discovery in this case.)
85 The Editorial Board, “Students demand compensation and transparency in wake of universities’ alleged price-

fixing,” THE EMORY WHEEL (Jan. 19, 2022), https://emorywheel.com/students-demand-compensation-and-
transparency-in-wake-of-universities-alleged-price-fixing/.


                                                          63
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 64 of 93 PageID #:4765




       ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        201. In addition, a person exercising reasonable diligence could not have discovered the
violations of the 568 Exemption and the concomitant antitrust injury at issue, in part because
Defendants have made numerous incomplete and misleading statements that prevented a
reasonable person from discovering those violations and the resulting injury.

       ANSWER: Yale denies the allegations in this paragraph.



        202. Defendants have publicly stated and advertised, incompletely and misleadingly,
that they admit students on a need-blind basis; indeed, Defendants have continually claimed to be
need-blind in thousands of internet, marketing, and admissions materials and brochures.

       ANSWER: Yale admits that it has publicly stated that it admits students on a need-blind

basis. Yale denies the remaining allegations in this paragraph.



        203. Defendants and the other members of the 568 Cartel maintained a website for the
Cartel. The first words printed on the homepage of this website were: “What is the 568 Presidents
Group? 568 Presidents Group is an affiliation of colleges and universities, all of which must admit
students on a need-blind basis.” Under an FAQ on the same website, the 568 Cartel has made the
following misleading claim: “It is referred to as a ‘Presidents’ group because it was formed by a
group of 28 college and university presidents from need-blind schools in 1998.”

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that the 568 Presidents Group had a website and that language from the website is included

in this paragraph. Yale denies the remaining allegations in this paragraph.



       204. Defendants have also individually made similarly misleading statements, including
on websites, during the period of the conspiracy alleged herein. Such Defendants have further
misrepresented, as shown below, that they are “need-blind,” within the meaning of that term under
the law, when they are not “need-blind” within the meaning of that term under the law.

       ANSWER: Yale denies the allegations in this paragraph.


                                                64
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 65 of 93 PageID #:4766




        205. The website for Columbia has stated and continues to state: “Admission to
Columbia is need-blind for US Citizens and Eligible Noncitizens, meaning the Office of
Undergraduate Admissions considers your application without regard to your financial need.”
Whether or not Columbia considers each application without regard to the student’s financial need,
this notion of need-blindness is not consistent with the statutory definition that prohibits Columbia
(so long as it participates in the 568 Cartel) from considering either financial need or financial
wealth. Columbia’s redefinition of “need-blind” is not consistent with the statute. A university’s
promise to disregard financial need is meaningless if the institution privileges wealth.

       ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



         206. Other Defendants that have not followed a need-blind admissions policy have also
engaged in definitional contortions. Dartmouth’s website, for example, has contained and
continues to contain a glossary of admissions-related terms. As redefined by Dartmouth, an
admissions decision is “need-blind” so long as it is not made with “knowledge of an applicant’s
financial need.” If Dartmouth does make admissions decisions without knowledge of an
applicant’s financial need, this is nevertheless insufficient for compliance with Section 568, which
requires that all students be admitted without regard to the financial circumstances of the students
or their families. Under Section 568, Dartmouth is not allowed to make admissions decisions with
knowledge and on the basis that, an applicant has financial need, or does not have financial need,
or is rich, or any other financial circumstance.

       ANSWER: Yale denies the allegations in the first sentence of this paragraph. Yale lacks

sufficient knowledge to admit or deny the allegations in the second and third sentences of this

paragraph. The remaining allegations contained in this paragraph are legal conclusions to which

no response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



       207. Duke’s website has also employed and continues to employ its own definitions,
claiming that its “admissions policy is ‘need-blind,’ which means that applicants are accepted
based on their merit, regardless of their ability to pay for college.” Duke’s redefinition does not
mention whether all students “are accepted based on their merit, regardless of” their ability to
donate money to Duke. In reality, not all students are admitted to Duke based on merit.



                                                 65
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 66 of 93 PageID #:4767




       ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        208. MIT’s website also has provided and continues to provide a glossary of admissions-
related terms. As redefined by MIT, “need-blind” means that “[p]rospective students are not
disadvantaged in the undergraduate admissions process because of their financial need.” MIT’s
redefinition is contrary to the statutory meaning of “need-blind basis” and constitutes an admission
that MIT considers the financial circumstances of certain applicants.

       ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in first and

second sentences of this paragraph. The remaining allegations contained in this paragraph are

legal conclusions to which no response is required. To the extent a response is required, Yale

denies the allegations in this paragraph.



        209. Northwestern’s website has claimed and continues to claim that it “has a need-blind
admissions policy for U.S. citizens and permanent residents; this means that financial aid is not a
factor in determining admission. Applicants are encouraged to apply for financial aid.”
Northwestern’s redefinition of “need-blind basis” is also contrary to the statutory definition and
constitutes a further admission that Northwestern fails to conduct admissions without regard to the
financial circumstances of all applicants and their families.

       ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in first

sentence of this paragraph. The remaining allegations contained in this paragraph are legal

conclusions to which no response is required. To the extent a response is required, Yale denies

the allegations in this paragraph.



        210. Penn’s website has claimed and continues to claim another misleading definition
of “need-blind”: “Our need-blind policy means that your ability to pay is not considered in your
admission decision.” This is misleading because under Section 568, exempt institutions are
prohibited from considering the financial circumstances of any applicant or any applicant’s family,
not just an applicant’s “ability to pay.”




                                                66
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 67 of 93 PageID #:4768




       ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in first

sentence of this paragraph. The remaining allegations contained in this paragraph are legal

conclusions to which no response is required. To the extent a response is required, Yale denies

the allegations in this paragraph.



       211. The foregoing redefinitions of “need-blind” for purposes of Section 568 obfuscate
that Defendants fail to follow need-blind admissions policies and have made admissions decisions
with regard to the financial circumstances of all applicants and their families.

       ANSWER: Yale denies the allegations in this paragraph.



        212. The website for the 568 Cartel contained the form of a certificate of compliance
whereby a member of the Cartel can certify that “its admission and financial aid practices currently
comply with the rules of Section 568 regarding ‘need-blind admission practices.’” Publicly posting
this form of certification misleads any reasonably diligent person who inquires into whether
members of the 568 Cartel are need-blind.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that the 568 Presidents Group had a website and that language from the website is included

in this paragraph. Yale denies the remaining allegations in this paragraph.



        213. The website for the 568 Cartel stated: “This site serves as a resource both for the
568 Presidents Group member institutions wanting to keep up to date on the Group’s activities, as
well as for visitors seeking to learn more about the Group.” (Emphasis added.) The 568 Cartel
thus continues inaccurately to advertise on its website that all Cartel members are “need-blind”
within the meaning of Section 568.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that the 568 Presidents Group had a website and that language from the website is included

in this paragraph. Yale denies the remaining allegations in this paragraph.




                                                67
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 68 of 93 PageID #:4769




        214. The 568 Cartel has publicly asserted that its activities were carried out for altruistic
purposes. The website for the 568 Cartel, for example, has stated and continues to state that the
purpose of the conspiracy is to agree on a financial-aid system that is “fair” and that the Consensus
Methodology was adopted after consideration of ways to “improve the financial aid system so as
to better serve the needs of families in their efforts to pay for college.”

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that the 568 Presidents Group had a website and that language from the website is included

in this paragraph. Yale denies the remaining allegations in this paragraph.



        215. Such assertions are false but would be viewed as credible by a reasonably diligent
person investigating the 568 Cartel’s conduct. Actors sympathetic to the 568 Cartel have likewise
published statements and conclusions that would have persuaded a reasonably diligent person
investigating the Cartel’s conduct that they had not suffered financial harm.

       ANSWER: Yale denies the allegations in this paragraph.



         216. Defendants further engaged in conduct that hindered a reasonably diligent person’s
ability to discover the violations and injury at issue by consistently omitting, in public statements
purporting to describe the reasons for net tuition price increases, any reference to price fixing or
the use of the Consensus Methodology as bearing on increased net prices of attendance. Whether
or not such statements have accurately described some of the reasons for net tuition price increases,
these statements have not acknowledged the effects of the use of the Consensus Methodology.

       ANSWER: Yale denies the allegations in this paragraph.



        217. In targeting Class Members through the institution’s alumni magazine, for example,
Dartmouth claimed in 2015 that rising tuition prices could be explained because “[j]ust as lattes
cost more these days, so do markers and whiteboards and keeping the lights on. Healthcare costs
and salaries are rising too—and hiring at the College has shot up more than enrollment.” 86 The
feature article also listed “[l]ess sizeable but still significant drivers of cost including compliance
with a range of government regulations imposed to address issues such as crime, gender equity
and accessibility, which have totaled millions of dollars.” The article quoted Dartmouth’s current




86 C.J. Hughes, Why is Dartmouth So Expensive, DARTMOUTH ALUMNI MAGAZINE, May-June 2015,

https://dartmouthalumnimagazine.com/articles/why-dartmouth-so-expensive.


                                                  68
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 69 of 93 PageID #:4770




President, Phil Hanlon, as saying that these factors, although supposedly “not as much as financial
aid” have “‘been a driver for the last eight to 10 years.’” 87

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



       218. A Georgetown spokesperson explained away the institution’s substantial tuition
increases by suggesting that “the growing cost ‘reflects the reality that many of our operating
expenses continue to increase at rates higher than inflation.’” 88

         ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        219. In 2008, an MIT news release incorrectly claimed: “During the past decade, the net
tuition for undergraduates—what students and families pay after financial aid—has, on average,
dropped by more than 15 percent when adjusted for inflation.” 89 Such statements suggest to a
reasonable person that MIT had lowered net prices of attendance over time. If MIT’s statement
were true, moreover, the net price of attendance would have “dropped” even more if MIT had not
participated in the 568 Cartel.

         ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



           220. In 2009, John Affleck-Graves, then an Executive Vice President at Notre Dame,
identified only food costs when asked to explain the institution’s 4.4 percent increase in tuition:
“We are aware of the pressure families are under, and we wanted to be as conservative as we could
be, . . . the difficultly for us this year is that we have seen an increase in a lot of our costs, like food




87 Id.


88 Connie Parham, GU Hikes Undergraduate Tuition 5.5 Percent, THE HOYA (Feb. 22, 2008),

https://thehoya.com/gu-hikes-undergraduate-tuition-5-5-percent/.
89 MIT to be Tuition-Free for Families Earning less than $75,000 a Year, MIT NEWS (Mar. 7, 2008),

https://news.mit.edu/2008/tuition-0307.


                                                       69
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 70 of 93 PageID #:4771




. . . . And then we are faced with a difficult choice because we don’t want to decrease the
opportunities we provide for the students, like study abroad and research opportunities.” 90

        ANSWER: Yale lacks sufficient knowledge to admit or deny the allegations in this

paragraph.



        221. In 2017, Amy Gutmann, President of Penn, told The Daily Pennsylvanian that “as
tuition goes up financial aid goes up even more.” 91 If this statement is true, it is also true that but
for Penn’s participation in the 568 Cartel, financial aid would have gone up even more—and that
President Gutmann did not speak to that fact.

        ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



        222. In reality, the 568 Cartel was never composed solely of “need-blind schools” as that
term is defined by the statute. The 568 Cartel members made innumerable inaccurate public claims
that had the effect of misleading a reasonably diligent person investigating whether the Cartel’s
conduct gave rise to a cause of action.

        ANSWER: Yale denies the allegations in this paragraph.



                                                       IX.

                                   CLASS ACTION ALLEGATIONS

        223. The proposed Class, under Federal Rules of Civil Procedure 23(a), 23(b)(2), and
23(b)(3), comprises all U.S. citizens or permanent residents who have (a) enrolled in one or more
of Defendants’ full-time undergraduate programs, (b) received need-based financial aid from one
or more Defendants, (c) directly purchased from one or more Defendants education, room, or board
not fully covered by such financial aid, and (d) first enrolled in one of Defendants’ full-time
undergraduate programs as follows:



90 Madeline Buckley, University Increases Tuition for 2009, THE OBSERVER (Mar. 4, 2009),

https://ndsmcobserver.com/2009/03/university-increases-tuition-for-2009/.
91 Amy Gutmann’s Interview with The Daily Pennsylvanian, THE DAILY PENNSYLVANIAN (Mar. 2, 2017),

https://www.thedp.com/article/2017/03/amy-gutmann-penn-transcript-interview.


                                                       70
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 71 of 93 PageID #:4772




       •       Chicago, Columbia, Cornell, Duke, Georgetown, MIT, Northwestern, Notre Dame,

               Penn, Rice, Vanderbilt, Yale—from 2003 through the present.

       •       Brown, Dartmouth, Emory—from 2004 through the present.

       •       CalTech—from 2019 through the present.

       •       Johns Hopkins—from 2021 to the present.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph. Yale further denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and therefore denies the allegations in this paragraph.



       224. The Class excludes purchasers of education, room, and board the full cost of which
was covered with institutional aid provided by such Defendant(s). Class Members also exclude
Defendants and their officers, directors, management, employees, subsidiaries, or affiliates; and
the Judge presiding over this action, his or her law clerks, spouse, and any person within the third
degree of relationship living in the Judge’s household and the spouse of such a person.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph. Yale further denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and therefore denies the allegations in this paragraph.



        225. Plaintiffs reserve the right to amend the Class definition, including with respect to
the relevant time periods of membership in the 568 Cartel, based on discovery in this action.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. The

allegations contained in this paragraph are legal conclusions to which no response is required. To

                                                 71
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 72 of 93 PageID #:4773




the extent a response is required, Yale denies the allegations in this paragraph. Yale further denies

that Plaintiffs have established or can establish the prerequisites to certification and/or

maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules of Civil Procedure,

and therefore denies the allegations in this paragraph.



        226. The Class Members are readily ascertainable and identifiable because records of
the relevant transactions should exist, because the Class Members’ identities are known to
Defendants, and because the members may be notified of the pendency of this action by forms of
notice customarily used in class actions.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph. Yale further denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and therefore denies the allegations in this paragraph.



       227. The Class Members are so numerous that joinder of all of them is impracticable;
the number is unknown to Plaintiffs but, on information and belief, is over 200,000.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph. Yale further denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and therefore denies the allegations in this paragraph.



       228. There are questions of law and fact common to the Class Members, including, but
not limited to, the following:

       a.      The scope and operation of the 568 Exemption;


                                                 72
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 73 of 93 PageID #:4774




       b.      Whether Defendants’ admissions practices fall under the 568 Exemption;

       c.      Whether Defendants conspired as alleged herein;

       d.      Whether the conspiracy harmed competition as alleged herein;

       e.      Whether the conspiracy caused antitrust injury as alleged herein;

       f.      The appropriate Class-wide measure of damages; and

       g.      The common method for determining the damages of Class Members.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph. Yale further denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and therefore denies the allegations in this paragraph.



      229. All or substantially all Class Members were injured by Defendants’ unlawful
conduct. A common formula exists that allows for determination of damages of individual Class
Members and for excluding from recovery any individuals who may not have been damaged.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph. Yale further denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and therefore denies the allegations in this paragraph.



       230. Plaintiffs’ claims are typical of the claims of the Class Members. Plaintiffs and the
other Class Members were damaged by the same common course of conduct by Defendants.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this


                                                 73
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 74 of 93 PageID #:4775




paragraph. Yale further denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and therefore denies the allegations in this paragraph.



        231. Plaintiffs will fairly and adequately protect the interests of the Class Members.
Plaintiffs’ interests are aligned with, and not adverse to, those of the other Class Members.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph. Yale further denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and therefore denies the allegations in this paragraph.



        232. Plaintiffs will continue to fully and adequately protect the interests of the Class
Members. Plaintiffs have retained counsel competent and experienced in the prosecution of
antitrust class action litigation, and with the necessary financial resources, to represent themselves
and the other Class Members.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph. Yale further denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and therefore denies the allegations in this paragraph.



       233. Questions of law or fact that are common to the Class Members predominate over
any questions affecting only individual Class Members.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this


                                                 74
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 75 of 93 PageID #:4776




paragraph. Yale further denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and therefore denies the allegations in this paragraph.



        234. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy. The prosecution of separate actions by individual Class Members
would impose heavy burdens on the Court and Defendants and would create a risk of inconsistent
or varying adjudications of the questions of law and fact common to the Class. In contrast, a class
action would achieve substantial economies of time, effort, and expense, and would assure
uniformity of decision as to persons similarly situated without sacrificing procedural fairness or
bringing about other undesirable results. Absent a class action, it would not be feasible for the vast
majority of the Class Members to seek redress for the violations of law alleged herein.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph. Yale further denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and therefore denies the allegations in this paragraph.



        235. Defendants have acted on grounds that apply generally to the Class, so that, in
addition to damages, including to the extent their conspiracy continues, final injunctive relief is
appropriate respecting the Class as a whole. Indeed, such injunctive relief is appropriate with
respect to Defendants who claim to be former members of the 568 Cartel in that no Defendant has
disavowed and repudiated the conspiracy.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. The

remaining allegations contained in this paragraph are legal conclusions to which no response is

required. To the extent a response is required, Yale denies the allegations in this paragraph. Yale

further denies that Plaintiffs have established or can establish the prerequisites to certification

and/or maintenance of the alleged “Class” pursuant to Rule 23 of the Federal Rules of Civil

Procedure, and therefore denies the allegations in this paragraph.


                                                 75
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 76 of 93 PageID #:4777




                                                X.

               ANTITRUST INJURY AND ANTICOMPETITIVE EFFECTS

       236. Plaintiffs and the other Class Members have suffered antitrust injury due to
Defendants’ illegal conduct. They have suffered injury of the type that the antitrust laws were
intended to prevent and that flows from that which makes Defendants’ acts unlawful.

       ANSWER: Yale denies the allegations in this paragraph.



        237. Defendants have conspired to reduce or eliminate price competition among the 568
Cartel members on provision of financial-aid packages to Class Members, thereby depriving
Plaintiffs and the other Class Members of a competitive marketplace.

       ANSWER: Yale denies the allegations in this paragraph.



        238. As a result of Defendants’ conspiracy to share information and fix prices, Plaintiffs
and the other Class Members were injured in the form of receiving artificially suppressed financial
aid and paying artificially inflated net prices of attendance.

       ANSWER: Yale denies the allegations in this paragraph.



        239. Plaintiffs and the other Class Members are naturally motivated to enforce the
antitrust laws because they paid artificially inflated prices. There are no other persons who were
more directly injured from, or more motivated to seek redress for, Defendants’ misconduct than
Plaintiffs and the other Class Members.

       ANSWER: Yale denies the allegations in this paragraph.



        240. Absent Defendants’ conspiracy, Defendants would have competed more
aggressively to attract Plaintiffs and the other Class Members to their undergraduate programs, by
offering all Class Members more generous financial aid and charging lower net prices of
attendance than under Defendants’ conspiracy.

       ANSWER: Yale denies the allegations in this paragraph.




                                                76
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 77 of 93 PageID #:4778




        241. If Defendants had competed, or competed more aggressively, with respect to
financial aid, Plaintiffs and all of the other Class Members would have received more money in
financial aid and paid lower net prices of attendance, as opposed to the artificially inflated net
prices that Plaintiffs and the other Class Members paid due to Defendants’ conspiracy. The
conspiracy also had the effect of imposing a greater debt burden on students and their families.

       ANSWER: Yale denies the allegations in this paragraph.



        242. Defendants’ conspiracy is an illegal horizontal agreement to fix prices and to share
confidential data, methods, and information related to admissions, financial aid, and methods of
determining financial aid. Defendants’ alleged misconduct directly and proximately caused
antitrust injury to Plaintiffs and the other Class Members, who received less money in financial
aid, and paid higher net prices of attendance, than they would have if Defendants had competed,
or competed more aggressively, rather than conspired to fix prices.

       ANSWER: Yale denies the allegations in this paragraph.



                                               XI.

                                 THE RELEVANT MARKET

        243. Defendants’ conduct is per se anticompetitive, obviating any market definition,
including based on the direct evidence of anticompetitive effects. Defendants’ conduct is also, and
in the alternative, illegal under the rule of reason and “quick look” modes of analyses.

       ANSWER: Yale denies the allegations in this paragraph.



        244. Plaintiffs thus further allege a relevant market, for undergraduate education at
private national universities with an average ranking of 25 or higher in the U.S. News & World
Report rankings from 2003 through 2021 (the most recent year in which Class Members applied
to any of Defendants). This is the Market for Elite, Private Universities.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.




                                                77
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 78 of 93 PageID #:4779




        245. This market does not include liberal arts colleges, which offer distinct products and
are generally more like each other than elite, private universities. Reflecting industry recognition
of these discrete classifications, both U.S. News & World Report and the Carnegie Classifications
classify national universities and liberal arts colleges separately, given that liberal arts colleges are
generally regarded as having different characteristics and services, including a smaller student
body, smaller and less competitive athletic programs, fewer graduate programs, and less emphasis
on research. In contrast, private, national universities tout themselves as offering such distinct
services that the liberal arts colleges do not.

        ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



        246. The Market for Elite, Private Universities has a rational relation to the
interchangeability of use or cross-elasticity of demand with respect to the universities in the
market. That is, within this market, sufficient cross-elasticity of demand exists such that a
sufficient number of admitted students to two or more of these universities would respond to a
small but significant increase in the net price by one university in the market by choosing to attend
a lower-priced university in the same market that would make the price increase unremunerative.

        ANSWER: Yale denies the allegations in this paragraph.



         247. The Market for Elite, Private Universities also has a rational relation to the cross-
elasticity of demand with respect to elite, private liberal arts colleges and public universities. That
is, the cross-elasticity between elite, private universities and elite liberal arts colleges and public
universities in the United States is low, such that a hypothetical monopolist in the Market for Elite,
Private Universities could impose a small but significant non-transitory increase in price
(“SSNIP”) without losing so many students to elite liberal arts colleges or public universities as to
render the SSNIP unremunerative.

        ANSWER: Yale denies the allegations in this paragraph.



       248. Admission to elite, private liberal arts colleges is generally less selective than
admission to elite, private, national universities. According to U.S. News & World Report, the
average admission rate of the top 10 national universities is approximately 7%, whereas the
average admission rate of the top 10 liberal arts colleges is approximately 14%.




                                                   78
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 79 of 93 PageID #:4780




       ANSWER: Yale denies the allegations in the first sentence of this paragraph. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



         249. A further factor differentiating private universities and liberal arts colleges is the
yield rate—that is, the rate at which admissions offers are accepted. Among the private universities
ranked in the top 25 by U.S. News & World Report, there is a strong correlation between the
institution’s rank and yield rate. Among the liberal arts colleges, this correlation is much weaker
(if it exists at all). The yield rate of both Harvard and Stanford, for example, is usually greater than
80%, whereas the yield rate for the most highly rated private liberal arts colleges—Williams,
Amherst, and Swarthmore—is usually approximately 40%.

       ANSWER: Yale denies the allegations in the first sentence of this paragraph. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



        250. The Market for Elite, Private Universities does not include public universities. A
handful of public universities have national rankings and selectivity comparable to that of the elite,
private universities. Competition between public universities and elite, private institutions,
however, is limited in the national market for students seeking financial aid, including the Class
Members. The University of California-Los Angeles (“UCLA”) and the University of California-
Berkeley (“UC Berkeley”), for example, do not provide need-based financial assistance to out-of-
state applicants. The University of Michigan-Ann Arbor (“Michigan”) has an official policy of
prioritizing financial aid for residents. The University of Virginia (“UVA”) is required by law to
matriculate at least two-thirds of its undergraduate student body from its pool of in-state applicants.
Public, national universities generally charge a high average net price to out-of-state students to
cross-subsidize in-state students, a pricing policy that is driven by laws and political pressure that
private institutions do not face.

       ANSWER: Yale denies the allegations in the first and third sentences of this paragraph.

Yale lacks sufficient knowledge to admit or deny the remaining allegations in this paragraph.



        251. Defendants themselves have long acknowledged the important distinctions between
private and public universities, and that the elite, private universities compete within a distinct
market. In its 2001 University Plan, for example, Duke stated:

       Private research universities occupy a special place in the diverse world of
       American higher education because of their distinctive missions, organization,
       governance, and funding. They are deliberately intermediate in scope and scale
       between the small private colleges and the large public universities. As a group,

                                                  79
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 80 of 93 PageID #:4781




        they attract a disproportionate number of the best faculty, are highly selective in
        their admissions policies, create a residential educational experience that promotes
        interaction with the faculty and student learning outside the classroom, and provide
        much of the nation’s leadership in research and scholarship. They are resource-
        intensive places, typically combining large endowments, strong philanthropic
        support, and external research funding with high tuition. These resources are
        powerfully additive in supporting the teaching and research missions of these
        institutions and their commitment to national and international leadership.

        In our consideration of the broader context in which Duke functions, it is important
        to discuss the dynamics of our market within American higher education. The
        leading private research universities have much in common, offering similar degree
        programs and pursing similar lines of research, yet the rivalry among them is often
        intense. Each institution is pursuing excellence and the public recognition that
        comes with it—on its own terms, seeking to create the deepest, richest, and most
        diverse environment possible for teaching, learning, and research and for the
        preparation of new leaders for our society. The leading universities compete with
        each other for the human and financial capital they need to excel in their broadly
        overlapping missions. 92

        ANSWER: Yale denies the allegations in the first sentence of this paragraph. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



        252. Indeed, public universities and private universities make pricing decisions based on
very different factors, with public institutions being subject to political pressures, state laws, and
dependence on expropriations from state treasuries. Compared to elite, private universities, public
universities such as UCLA, UC Berkeley, UVA, and Michigan have different pricing models and
largely compete for different students.

        ANSWER: Yale denies the allegations in the first sentence of this paragraph. Yale lacks

sufficient knowledge to admit or deny the remaining allegations in this paragraph.



        253. The schools in the Market for Elite, Private Universities compete with each other
and have done so since 2003. Defendants are tightly packed in their average U.S. News & World
Report rankings over the last 19 years (3.1, 5.1, 5.9, 6.4, 7.3, 8.0, 8.0, 10.7, 11.5, 12.5, 14.8, 14.8,
16.7, 16.7, 18.1, 19.7, and 22.3).


92 Building on Excellence, THE UNIVERSITY P LAN: DUKE UNIVERSITY (Feb. 23, 2001),

https://dukespace.lib.duke.edu/dspace/bitstream/handle/10161/65/UA2006_0037%20Strategic%20Plan.p
df?sequence=1&isAllowed=y.


                                                     80
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 81 of 93 PageID #:4782




        ANSWER: Yale denies the existence of any purported “Market for Elite, Private

Universities.” Yale competes with many schools in any given year. Yale lacks sufficient

knowledge to admit or deny the remaining allegations in this paragraph.



       254. Defendants themselves have acknowledged that they compete within the Market
for Elite, Private Universities. Morton Schapiro, the President of Northwestern, a trained
economist, and a spokesperson for the 568 Cartel since at least 2001, acknowledged this market
when he stated in 2018—carefully distinguishing between universities and colleges—that
“continuous efforts,” including a push for more federal funding, “can accelerate improvement”
and “allow NU to remain competitive against top COFHE universities.” COFHE stands for the
Consortium on Financing Higher Education, a trade and lobbying group that describes itself as a
“voluntary, institutionally-supported organization of thirty-five highly selective, private liberal
arts colleges and universities.” 93 Accordingly, by President Schapiro’s own admission,
Northwestern views itself as competing with the universities in that group, which is 90% identical
with the market as Plaintiffs define it. (The COFHE universities consist of the U.S. News top 25,
minus Carnegie Mellon, plus the University of Rochester.)

        ANSWER: Yale denies the existence of any purported “Market for Elite, Private

Universities.” Yale further denies the existence of any purported “Cartel” or conspiracy. Yale

lacks sufficient knowledge to admit or deny the remaining allegations in this paragraph.



        255. Defendants have considerable market power, which they have exercised to increase
the net price of attendance and to injure Plaintiffs and the other Class Members through the conduct
alleged herein. Since 2003, Defendants have controlled between 61% and 78% of the number of
undergraduate slots in the Market for Elite, Private Universities. Within the following relevant
time periods, as set forth above, the percentage of undergraduate slots that the participants in the
conspiracy have controlled within this market are approximately as follows:

        •        As of 2003: 61%

        •        As of 2004: 73%

        •        As of 2019: 73%


93 Adrian Wan, Schapiro, Administrators Talk Research Efforts, Campus Inclusion at ‘Conversations with the

President’, THE DAILY NORTHWESTERN (Apr. 12, 2018), https://dailynorthwestern.com/2018/04/12/
campus/214612/.


                                                      81
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 82 of 93 PageID #:4783




       •       As of 2022: 78%

       ANSWER: Yale denies the allegations in this paragraph.



         256. Competition in the Market for Elite, Private Universities is constrained by
extremely strong brand preferences among consumers and high barriers to entry. Competition is
further constrained by the fact that such institutions limit the supply of available seats, which has
the effect of generating scarcity and enhancing their prestige. Competition in the Market for Elite,
Private Universities is further constrained by the fact that applicants cannot readily substitute one
institution for another because an applicant’s choice is limited to those universities to which he or
she is admitted in a highly selective process.

       ANSWER: Yale denies the allegations in this paragraph.



         257. The 568 Cartel does not have any pro-competitive impacts. Accordingly, if the rule
of reason were to apply, it is not necessary for Plaintiffs to demonstrate reasonable and less
restrictive alternatives are available. Unlike the Overlap Group, the 568 Cartel does not agree to
allocate aid solely based on demonstrated financial need. Indeed, unlike the Overlap Group,
several members of the 568 Cartel offer athletic scholarships and compete to have nationally
ranked athletic teams every year.

       ANSWER: Yale denies the existence of any purported “Cartel” or conspiracy. Yale

admits that members of the 568 Presidents Group do not agree to allocate aid. Yale further admits

that, upon information and belief, some members of the 568 Presidents Group offer athletic

scholarships and field competitive athletic teams. The remaining allegations contained in this

paragraph are legal conclusions to which no response is required. To the extent a response is

required, Yale denies the allegations in this paragraph.



        258. Defendants have substantial endowments and the proven capacity to earn rates of
return on them that well exceed the minimum 5% distribution requirement of the tax laws. See
Appendix A. Defendants thus have ample resources to meet the financial needs of their students
without reducing their endowments (if that were even imperative) and without colluding on a
formula that results in artificially reduced financial aid and that would in fact provide substantially
more financial aid, and result in lower net prices of attendance, than through the 568 Cartel.



                                                  82
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 83 of 93 PageID #:4784




       ANSWER: Yale admits that it has an endowment. Yale further admits that the allegations

in Appendix A purport to describe information from Yale’s consolidated financial statements.

Yale denies any allegations in this paragraph and Appendix A that are inconsistent with Yale’s

consolidated financial statements. Yale denies the remaining allegations in this paragraph.



        259. In addition, since the time of the Overlap Group, important facts relevant to
application of any modes of legal analysis that may apply have changed in critical ways. As to the
schools for which such information is publicly available, the growth of Defendants’ endowments
has exceeded the growth of their annual operating expenses. From 1994 to 2021, for instance,
Dartmouth’s endowment increased by approximately 879%, whereas its annual operating
expenses increased by approximately 184%. See Appendix A. This is a ratio of approximately 4.8
to 1. The ratios are approximately 8.1 to 1 at Georgetown; 1.9 to 1 at Penn; 1.7 to 1 at Rice; and
3.1 to 1 at Yale. See id.

       ANSWER: Yale admits that it has an endowment. Yale further admits that the allegations

in this paragraph and in Appendix A purport to describe information from Yale’s consolidated

financial statements. Yale denies any allegations in this paragraph and Appendix A that are

inconsistent with Yale’s consolidated financial statements. Yale denies the remaining allegations

in this paragraph.



         260. These facts underscore that Defendants’ endowments have been and continue to be
an increasingly ample financial resource for the schools to use to meet the financial needs of their
students. These facts also illustrate that, regardless of their status as not-for-profit institutions,
Defendants have generated or have the ability to generate revenue that well exceeds expenses on
an annual basis, and thus would have been financially able to devote more resources for financial
aid if that had competed rather than colluded on their financial aid formulae.

       ANSWER: Yale denies the allegations in this paragraph.



       261. In addition, a reasonable and less restrictive alternative is for each member of the
568 Cartel to implement a fair financial-aid formula unilaterally, as other elite, private universities
have done, without entering into a conspiracy that overcharges students. In addition, no pro-
competitive impact that Defendants may proffer justifies the significant overcharge caused by the
conspiracy. If even relevant to any analysis under the rule of reason, moreover, there is no

                                                  83
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 84 of 93 PageID #:4785




legitimate or significant procompetitive justification in Defendants’ non-compliance with the 568
Exemption or in combining such non-compliance with the collective application of the Consensus
Methodology, and other acts in furtherance of the conspiracy as alleged herein, to artificially
reduce financial aid.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



        262. Colluding, agreeing on, and collectively imposing a common aid methodology as
part of the 568 Cartel are not reasonably necessary to achieve the objective of awarding financial
aid to admitted students. Nor is the sharing of confidential admission and financial-aid data and
information, particularly as to the methodologies for awarding financial aid, reasonably necessary
for the individual schools to achieve the objective of awarding financial aid to admitted students.
Instead, there are substantially less restrictive alternatives for helping to fund need-based financial
aid for admitted students—including, as noted, using a portion of the annual investment gains on
Defendants’ endowments.

       ANSWER: The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Yale denies the allegations in this

paragraph.



       263. In short, Defendants’ illegal conduct has significantly injured more than 200,000
Class Members by artificially reducing the financial aid they were offered and received.

       ANSWER: Yale denies the allegations in this paragraph.



                                                 XII.

                                      CLAIM FOR RELIEF

                                   FIRST CAUSE OF ACTION
                                      Sherman Act Section 1

       264.    Plaintiffs incorporate the preceding paragraphs.

       ANSWER: Yale restates and incorporates its responses to the preceding paragraphs.

                                                  84
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 85 of 93 PageID #:4786




        265. At a time currently unknown to Plaintiffs, but at least as early as 2003, and
continuing through the present to an extent to be determined in discovery, Defendants entered into
a continuing agreement, understanding, and conspiracy in restraint of trade artificially to fix, raise,
and stabilize and reduce the amount of financial aid paid to Class Members, in violation of Section
1 of the Sherman Act, 15 U.S.C. § 1.

       ANSWER: Yale denies the allegations in this paragraph.



        266. In formulating and carrying out their conspiracy, Defendants have done those
things that they combined and conspired to do, including but not limited to the acts, practices, and
course of conduct set forth above, and the following, among others: Using an agreed upon formula
or method for fixing, lowering, and stabilizing the amount of financial aid they offered and fixing,
increasing, and stabilizing the net price of attendance; and sharing confidential, private data and
information related to admissions and financial aid, including the methodologies to be used in
awarding financial aid.

       ANSWER: Yale denies the allegations in this paragraph.



        267. The 568 Cartel has monitored and enforced its conspiracy in several ways,
according to the Cartel’s website, including (but not limited to) such steps as (a) requiring each
participation institution to submit a “Certificate of Compliance,” (b) requiring university
professionals at each institution to receive “training . . . in the application of the Methodology,”
(c) imposing a “common calendar for the collection of data from families,” (d) agreeing to share
information and analyses relating to financial aid and formulae for provision of financial aid, and
(e) conducting an annual or biannual meeting every year since at least 2007.

       ANSWER: Yale denies the allegations in this paragraph.



       268. This conspiracy has had the following effects, among others: The net price of
attendance has been fixed, increased, maintained, and stabilized at artificially high, non-
competitive levels for all Class Members.

       ANSWER: Yale denies the allegations in this paragraph.



        269. Plaintiffs and the other Class Members have been injured and will continue to be
injured in their businesses and property by paying more for attendance at Defendants than they
would have paid and will pay but for the combination and conspiracy.

                                                  85
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 86 of 93 PageID #:4787




       ANSWER: Yale denies the allegations in this paragraph.



        270. Defendants are not entitled to the affirmative defense that they are exempt from the
antitrust laws, because they did not satisfy the requirement that all students are admitted on a need-
blind basis, for the reasons set forth above; and because, to the extent the conspiracy continues,
the 568 Exemption no longer exists.

       ANSWER: Yale denies the allegations in this paragraph.



        271. Defendants’ conspiracy is a per se violation of the Sherman Act; or, in the
alternative, is a violation of the Sherman Act under the Rule of Reason or “quick look” analysis.

       ANSWER: Yale denies the allegations in this paragraph.



        272. Defendants’ conduct has directly and proximately caused antitrust injury to
Plaintiffs and the other Class Members. The artificially inflated net price of attendance that
Plaintiffs and the other Class Members have paid to Defendants flows directly from Defendants’
price fixing and is the type of damage that the antitrust laws were designed to prevent.

       ANSWER: Yale denies the allegations in this paragraph.



        273. Plaintiffs and the other Class Members are entitled to treble damages and an
injunction against Defendants, preventing and restraining the violations alleged herein.

       ANSWER: Yale denies the allegations in this paragraph.



                                                XIII.

                REQUESTED RELIEF AND DEMAND FOR JURY TRIAL

       ANSWER: Yale denies that Plaintiffs are entitled to a judgment or any other relief

requested in their Prayer for Relief or purported demand for a jury trial.




                                                 86
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 87 of 93 PageID #:4788




                                      AFFIRMATIVE DEFENSES

       Yale affirmatively states that Plaintiffs are not entitled to any relief on their Second

Amended Complaint (because, among other things, Yale did not enter into a conspiracy to

unreasonably restrain trade or commerce and Plaintiffs lack antitrust injury and standing). Yale

further asserts the following affirmative defenses, without conceding that it bears the burden of

production or persuasion as to any of them. Yale has not knowingly or intentionally waived any

applicable defenses, and it reserves the right to assert and rely upon other applicable defenses that

may become available or apparent throughout the course of this case. Yale reserves the right to

amend, or seek to amend, its answer and affirmative defenses.

                                  FIRST AFFIRMATIVE DEFENSE

       Any alleged anticompetitive effects of the alleged agreement are outweighed by the

significant procompetitive benefits of the 568 Presidents Group’s collaboration. Jointly establishing

recommended best practices for measuring need improves the accuracy of determinations of

students’ ability to pay and promotes a more efficient allocation of aid—thereby decreasing the price

paid by some students, increasing the quality of financial aid awards, and increasing competition.

Such collaboration also broadens the pool of applicants who can afford to attend higher education

and improves the socioeconomic diversity of the class of admitted students—thereby increasing

consumer access and choice, as well as the quality of education and educational experience

provided, and increasing competition. The U.S. Government Accountability Office has found that

the Consensus Methodology did not cause a net increase in the amount students were expected to

pay and resulted in higher amounts of need-based aid awarded to some categories of students.




                                                 87
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 88 of 93 PageID #:4789




                                  SECOND AFFIRMATIVE DEFENSE

        The claims of all Plaintiffs are barred by the applicable four-year statute of limitations. See

15 U.S.C. § 15b. Plaintiffs’ claims arise out of the alleged creation and implementation in 2003 of a

“Consensus Methodology” for determining students’ ability to pay for college. Sec. Am. Compl. ¶

5. Plaintiffs assert that their Amended Complaint alleges “continuing violations,” but Plaintiffs

cannot prove that within the past four years, Yale agreed with any competitor to use or follow the

Consensus Methodology in assessing financial aid. Indeed, Yale significantly modified its method

of determining financial aid in 2007 and 2008. Plaintiffs therefore cannot prove that Yale engaged

in any “new and independent overt acts” in furtherance of any alleged conspiracy within the past

four years that caused new injuries to Plaintiffs. Plaintiffs’ claims are time-barred.

        Moreover, Plaintiffs filed their original complaint alleging that Defendants violated Section

1 of the Sherman Act on January 9, 2022. Seven Plaintiffs—Andrew Corzo, Sia Henry, Michael

Maerlender, Brandon Piyevsky, Benjamin Shumate, Brittany Tatiana Weaver, and Cameron

Williams—matriculated more than four years before Plaintiffs filed their original Complaint.

Plaintiffs allege they were injured by “receiving artificially suppressed financial aid and paying

artificially inflated net prices of attendance.” Sec. Am. Comp. ¶ 238. Corzo, Henry, Maerlender,

Piyevsky, Shumate, Weaver, and Williams each matriculated before January 9, 2018, and thus

incurred the alleged injuries from their initial financial aid awards outside the limitations period.

Subsequent financial aid awards for matriculated students were not subject to any agreement among

Defendants, and any alleged effect on such awards from the initial awards was a foreseeable future

harm at the time of the initial awards. Indeed, Weaver, Henry, and Piyevsky allege they graduated

before January 9, 2018, and thus could not have incurred any injuries within the limitations period.

Likewise, as Corzo and Williams allege they graduated in 2018, they received their final financial



                                                  88
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 89 of 93 PageID #:4790




aid awards before January 9, 2018 and thus could not have incurred any injuries within the

limitations period.

                                    THIRD AFFIRMATIVE DEFENSE

        Setting aside that none of the Plaintiffs faces a sufficient threat of future injury to support

equitable relief, their request for such relief is barred by laches. As set forth in the Second Affirmative

Defense and incorporated by reference here, Plaintiffs either discovered or should have discovered

with reasonable diligence their alleged past and future injuries long before January 9, 2018. And

their failure to sue until January 9, 2022, has prejudiced Defendants, because the passage of time

without notice of Plaintiffs’ suit—at least four years for all Plaintiffs, and more than a decade for

certain Plaintiffs—has harmed Defendants’ ability to obtain and maintain relevant evidence and

otherwise prepare their defense.

                                  FOURTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claim is barred, whole or in part, from recovery of any damages because of and

to the extent of their failure to mitigate damages. Based on information and belief, Plaintiffs,

through the exercise of reasonable diligence, could have attended one or more schools that were

not members of the 568 Presidents Group but were otherwise reasonably comparable to the

Defendant university that the Plaintiff chose to attend. If Plaintiffs had attended such schools, they

may not have incurred any alleged injury caused by the challenged conduct at the Defendant

university they chose to attend, while still receiving a reasonably comparable education.

Additionally, on information and belief, at least some Plaintiffs did not apply for all available

grants and other forms of tuition relief to mitigate any purported damages from the challenged

conduct. Plaintiffs’ failure to seek additional aid, if they believed their full need was not met, also

precludes them from using the antitrust laws to do so now.



                                                    89
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 90 of 93 PageID #:4791




       Further, Plaintiffs’ claims are barred to the extent they or any putative class members have

failed to seek to have their loans forgiven under the Biden-Harris Administration’s Student Debt

Relief Plan, announced on August 24, 2022, which includes loan forgiveness of up to $20,000. On

information and belief, Plaintiffs who obtained student loans across the country are now eligible

to have those loans forgiven. Plaintiffs cannot show injury based on any portion of such loans that

have been forgiven, or would be eligible to be forgiven.

                                 FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims and any claims of any putative class members are barred, in whole or in

part, by the doctrines of estoppel and lack of antitrust injury to the extent they were granted a

financial aid award greater than their actual need. Circumstances surrounding Plaintiffs

applications for, and receipt of, financial aid might estop them from seeking damages for any

alleged injuries caused by the conduct they challenge. Yale pleads this defense on information and

belief because knowledge of such circumstances is uniquely possessed by Plaintiffs or potentially

by other non-Defendants.

                                 SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims and any claims of any putative class members are barred because the

alleged conduct was not unlawful under the antitrust laws as reasonably understood by Yale based

on all information available to it at the time. Such information included, but was not limited to,

statements by the Department of Justice that that it did not believe agreements among higher

education institutions constitutes anticompetitive competitive which involved: (1) agreements to

award financial aid only on the basis of demonstrated financial aid, rather than merit; (2)

agreements to use common principles of analysis for determining the needs of students; or (3) the

use of a common financial aid application.



                                                90
  Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 91 of 93 PageID #:4792




                                 SEVENTH AFFIRMATIVE DEFENSE

        In addition to the failure to prove the existence any conspiracy or cartel as to “net price of

attendance” or otherwise, the fact that colleges and universities––unlike the MIT case––set

financial aid packages independently as to each of their financial aid students at all relevant times,

permitted appeals of packages, and never exchanged information about specific financial aid

packages for students means that there was no conspiracy, let alone joint and several liability, as

to “net price of attendance.”

                                 EIGHTH AFFIRMATIVE DEFENSE

        Yale significantly modified its method of determining financial aid in 2007 and 2008,

rendering the Consensus Methodology inapplicable.

                                         PRAYER FOR RELIEF

        WHEREFORE, Yale respectfully requests that judgment be entered in favor of Yale and

against Plaintiffs, dismissing the Second Amended Complaint in its entirety with prejudice. Yale

further requests that this Court (i) award Yale its costs and disbursements, and (ii) award such

other and further relief as the Court deems just and proper.

                                       JURY TRIAL DEMANDED

        Pursuant to the Rule 38 of the Federal Rules of Civil Procedure, Yale demands a trial by

jury on all claims so triable.




                                                 91
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 92 of 93 PageID #:4793




Dated: January 25, 2023                           Respectfully submitted,

/s/ Stephen J. Siegel                             By: /s/ Charles A. Loughlin
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                                             92
 Case: 1:22-cv-00125 Document #: 294 Filed: 01/25/23 Page 93 of 93 PageID #:4794




                                 CERTIFICATE OF SERVICE

       I hereby certify that, on January 25, 2023, I caused a true and correct copy of the foregoing

Defendant Yale University’s Answer and Affirmative Defenses to Second Amended and

Supplemental Class Action Complaint to be filed electronically with the Court’s CM/ECF system,

and that notice of this filing was sent by electronic mail to all parties by operation of the Court’s

electronic filing system.

                                                                     /s/ Serena G. Rabie
                                                                     Serena G. Rabie




                                                 93
